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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 ROBERT WESTEFER, et al.,                        )
                                                 )
                       Plaintiffs,               )
                                                 )
 vs.                                             )   CIVIL NO. 00-162-GPM
                                                 )
 DONALD SNYDER, et al.,                          )   Consolidated with:
                                                 )   CIVIL NO. 00-708-GPM
                       Defendants.               )

                           MEMORANDUM AND ORDER
 MURPHY, District Judge:

                                        I. INTRODUCTION

        The named Plaintiffs in this case, Robert Westefer, Mark Von Perbandt, Alejandro Villazana,

 Armando Tinajero, Corey A. Taylor, Michael Sparling, Joe Sorrentino, Anibal Santiago,

 Tyshawn Ross, Vincente Rodriguez, Edward Rodriguez, Vincent Reyna, Alex Muller,

 William Lasley, Ted Knox, Michael Johnson, Eugene Horton, George Harper, Timothy Hall,

 John Gill, Larry Gambrell, Larry Foutch, Robert Felton, Kennard Combs, Maurice Coleman,

 Leverne Clayton, Gary Clark, Roosevelt Burrell, Finner Bryant, Larry Brown, Aryules Bivens, and

 Bennie Cunningham, are past and present inmates in the custody of the Illinois Department of

 Corrections (“IDOC”) who, at the times relevant to this case, have been incarcerated in the closed

 maximum security prison (“supermax prison”) at the Tamms Correctional Center (“Tamms”) in

 Tamms, Illinois.1 Plaintiff Mary Chapman is the legal representative of Marcus Chapman, who




 1.  The Court notes that there is also a minimum security prison at Tamms; all references to
 Tamms in this Order are to the supermax prison there.

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 formerly was a Plaintiff in this case until he committed suicide while in IDOC custody at Tamms

 on August 26, 2004.        Defendants Donald Snyder, Odie Washington, Michael V. Neal,

 George DeTella, Michael O’Leary, Dwayne Clark, Jerry Gilmore, Rodney Ahitow, Roger Cowan,

 Thomas Page, Roger Walker, Salvador Godinez, Guy Pierce, Barbara Hurt, Rick Orr, Ronald Meek,

 Jason Garnett, Deirdre Battaglia, Eddie Jones, Don Hulick, and Roger Zimmerman are present and

 former officials and employees of the IDOC.

        Plaintiffs seek relief in this case under 42 U.S.C. § 1983, alleging that Defendants have

 violated their right to procedural due process under the Fourteenth Amendment to the Constitution

 by employing constitutionally inadequate procedures when assigning IDOC inmates to the supermax

 prison at Tamms. Additionally, Plaintiffs Westefer, Von Perbandt, Villazana, Tinajero, Sparling,

 Sorrentino, Santiago, Ross, V. Rodriguez, E. Rodriguez, Reyna, Muller, Lasley, Knox, Johnson,

 Horton, Harper, Hall, Gill, Gambrell, Foutch, Felton, Combs, Coleman, Clayton, Clark, Chapman,

 Burrell, Bryant, Brown, and Bivens represent a class defined as “[a]ll inmates who have been

 transferred to [Tamms] since January 1, 1998, and all prisoners who will be transferred to Tamms

 in the future.” Westefer v. Snyder, Civil Nos. 00-162-GPM, 00-708-GPM, 2006 WL 2639972,

 at *12 (S.D. Ill. Sept. 12, 2006). The class-wide claims in this case are solely for injunctive and

 declaratory relief, not damages. See id. at *9. Also, in previous orders in this case the Court has

 held that the doctrine of qualified immunity shields Defendants from liability in damages to the

 named Plaintiffs in this case as individuals for the due process violations alleged by the named

 Plaintiffs. See Westefer v. Snyder, Civil Nos. 00-162-GPM, 00-708-GPM, 2009 WL 2905548,

 at **9-11 (S.D. Ill. Sept. 4, 2009); Cunningham v. Snyder, 472 F. Supp. 2d 1023, 1033

 (S.D. Ill. 2006). The class-wide procedural due process claims in this case now have been fully tried


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 to the Court in the course of an eight-day bench trial. Pursuant to Rule 52(a) of the Federal Rules

 of Civil Procedure, the Court enters this Order as its findings of fact and conclusions of law with

 respect to the class-wide procedural due process claims.2

                                            II. ANALYSIS

        A.      Mootness

        Before addressing the merits of the claims for violations of procedural due process in this

 case, the Court feels constrained to address the issue of whether the due process claims are moot in

 light of certain reforms that are being implemented by the IDOC in connection with confinement at

 the supermax prison at Tamms. The issue of mootness is one that implicates the Court’s

 subject matter jurisdiction, which extends, of course, only to “Cases” and “Controversies.”

 Summers v. Earth Island Inst., 129 S. Ct. 1142, 1148 (2009) (quoting U.S. Const. art. 3, § 2, cl. 1).

 See also Wernsing v. Thompson, 423 F.3d 732, 745 (7th Cir. 2005) (“Mootness . . . is always a

 threshold jurisdictional question that we must address even when it is not raised by the parties.”);

 Ortiz v. John O. Butler Co., 94 F.3d 1121, 1125 (7th Cir. 1996) (“A federal court’s subject matter

 jurisdiction extends only to actual cases and controversies.”).          In light of the case or


 2. This perhaps is the place to note that this Order is intended to be a concise account of the bench
 trial conducted on the procedural due process claims in this case, and to that end only matters
 deemed by the Court to be credible, material, and relevant will be reported. The reader should
 presume that evidence omitted from the Court’s findings of fact was considered by the Court to be
 irrelevant or in any event less persuasive than competing evidence. The Court notes in passing that,
 in addition to alleging violations of procedural due process, Plaintiffs Von Perbandt, Taylor,
 Sparling, Sorrentino, Santiago, V. Rodriguez, E. Rodriguez, Lasley, Knox, Horton,
 Harper, Felton, Combs, Clayton, Chapman, Burrell, Bivens, and Cunningham also assert claims
 under 42 U.S.C. § 1983 alleging that they were assigned by Defendants to the supermax prison at
 Tamms in retaliation for filing grievances and lawsuits and engaging in other protected activities
 challenging the conditions of their confinement, in violation of the First and Fourteenth Amendments
 to the Constitution. These retaliation claims have been resolved in a series of jury trials, and they
 are not at issue here.

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 controversy requirement, a federal court has no jurisdiction to entertain moot controversies. See

 Church of Scientology of Cal. v. United States, 506 U.S. 9, 12 (1992) (quoting Mills v. Green, 159

 U.S. 651, 653 (1895)) (“[A] federal court has no authority ‘to give opinions upon moot questions

 or abstract propositions, or to declare principles or rules of law which cannot affect the matter in

 issue in the case before it.’”); Powell v. McCormack, 395 U.S. 486, 496-97 (1969) (a federal court

 can consider only cases and controversies and therefore cannot consider moot cases). Accordingly,

 the issue of mootness needs to be addressed by the Court as a threshold matter. See Leroy v.

 Great W. United Corp., 443 U.S. 173, 180 (1979) (issues affecting a court’s subject matter

 jurisdiction are “fundamentally preliminary”); Walters v. Edgar, 163 F.3d 430, 432 (7th Cir. 1998)

 (“[T]he existence of a case or controversy in the Article III sense, that is, a real dispute between

 parties with tangible stakes in the outcome, must be continuous from the beginning of the suit to the

 end. If a case becomes moot, the court loses jurisdiction, even though the case was not moot

 when filed.”) (citations omitted).

        On September 3, 2009, IDOC Director Michael Randle submitted to Patrick Quinn, the

 Governor of Illinois, a “Ten-Point Plan” (hereinafter, “the Ten-Point Plan” or simply “the Plan”)

 aimed at ameliorating aspects of confinement at the supermax prison at Tamms. See Tamms Closed

 Maximum Security Unit: Overview and Ten-Point Plan (Plaintiffs’ Exhibit 7). A number of the

 reforms proposed in the Ten-Point Plan are pertinent to the procedural due process claims in this

 case, including: allowing each IDOC inmate that is placed at the supermax prison at Tamms

 to have a transfer review hearing where the inmate can contest his placement at the supermax prison;

 furnishing each inmate, on arrival at Tamms, with an estimate of the probable length of his stay and

 explaining how, through good behavior, the inmate can earn transfer out of the supermax prison;


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 ensuring that inmates assigned to Tamms receive a full mental health examination within thirty days

 of placement at the supermax prison and taking measures to identify and monitor inmates that may

 be suffering deteriorating mental health as a result of placement at Tamms; increasing inmate

 privileges such as telephone calls, out-of-cell time, and showers, as an incentive for good behavior;

 offering General Educational Development (“GED”) testing at Tamms; implementing congregate

 religious services at Tamms; lifting certain restrictions on the amount of printed material Tamms

 inmates are allowed to possess; developing a reassignment unit at Tamms to help inmates reassigned

 from the supermax prison to lower-security prisons to adjust to their reassignment; and

 reevaluating the eligibility for transfer of inmates who have been incarcerated long-term at Tamms.

 See id. at 14-26.      As should become apparent presently from the Court’s discussion of

 whether IDOC inmates have a due process liberty interest in avoiding confinement at Tamms,

 IDOC Director Randle’s proposed reforms directly address a number of objections to Tamms raised

 by Plaintiffs and the class.

         As Plaintiffs point out, the Ten-Point Plan, though it has been approved by Governor Quinn,

 has not yet been fully implemented by the IDOC through, for example, the promulgation of

 appropriate regulations. See Doc. 522 (Testimony of Michael Randle) at 41-42. Also, as the Court

 has had occasion to note at an earlier stage of this case, “it is well settled that a voluntary cessation

 of complained-of conduct generally does not moot a lawsuit.” Westefer, 2006 WL 2639972, at *10

 (collecting cases). See also Federation of Adver. Indus. Representatives, Inc. v. City of Chicago, 326

 F.3d 924, 929 (7th Cir. 2003) (quoting United States v. W.T. Grant Co., 345 U.S. 629, 632 (1953))

 (noting “the general principle that a defendant’s voluntarily cessation of challenged conduct will not

 render a case moot because the defendant remains ‘free to return to his old ways.’”);


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 Milwaukee Police Ass’n v. Jones, 192 F.3d 742, 747 (7th Cir. 1999) (voluntary cessation of activity

 does not render a case moot unless the defendant can demonstrate that there is no reasonable

 expectation that the wrong will be repeated). In this instance the Court believes it is inappropriate

 to find mootness, given that, despite IDOC Director Randle’s proposed reforms, Defendants continue

 to insist that conditions at Tamms do not implicate due process concerns. Even more importantly,

 as will be discussed in more detail presently, the Ten-Point Plan as proposed by IDOC Director

 Randle and approved by Governor Quinn does not cure constitutional infirmities in the existing

 procedures whereby IDOC inmates are placed in the supermax prison at Tamms. Accordingly,

 notwithstanding any reforms the IDOC has implemented at Tamms or intends to implement there,

 the controversy before the Court remains live and is not moot.

        B.      Procedural Due Process

                1.      Existence of a Liberty Interest

        In general, of course, the Fourteenth Amendment protects citizens from deprivations of life,

 liberty, or property without due process of law. See U.S. Const. amend. XIV, § 1; Doe v.

 City of Lafayette, Ind., 377 F.3d 757, 767-68 (7th Cir. 2004). Thus, the Court turns to the question

 of whether Plaintiffs and the class have a due process liberty interest in avoiding assignment to the

 supermax prison at Tamms. See Kentucky Dep’t of Corr. v. Thompson, 490 U.S. 454, 460 (1989)

 (prison inmates, to prevail on procedural due process claims, must show that they possess a

 Fourteenth Amendment liberty interest and have been deprived of that interest without due process);

 Williams v. Ramos, 71 F.3d 1246, 1248 (7th Cir. 1995) (citing Zinermon v. Burch, 494 U.S. 113, 125

 (1990)) (“When a plaintiff brings an action under [42 U.S.C.] § 1983 for procedural due process

 violations, he must show that the state deprived him of a constitutionally protected interest in ‘life,


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 liberty, or property’ without due process of law.”); Colon v. Schneider, 899 F.2d 660, 666

 (7th Cir. 1990) (when analyzing a claim that a state has violated an individual’s right to procedural

 due process, the first inquiry is whether there exists a life, liberty, or property interest protectable

 under the Fourteenth Amendment with which the state has interfered; if the court determines that

 the state has deprived an individual of a protectable interest, the next step is to determine if the entity

 responsible for the alleged deprivation instituted constitutionally sufficient procedural protections).

 In the prison context, and more specifically in the context of assignments to segregated confinement,

 liberty interests “will be generally limited to freedom from restraint which . . . imposes atypical and

 significant hardship on the inmate in relation to the ordinary incidents of prison life.” Sandin v.

 Conner, 515 U.S. 472, 484 (1995). See also Lekas v. Briley, 405 F.3d 602, 607-08 (7th Cir. 2005);

 Thomas v. Ramos, 130 F.3d 754, 760 (7th Cir. 1997).

         In order to determine whether conditions of confinement impose “an atypical and

 significant hardship within the correctional context,” those conditions must be measured against a

 baseline. Wilkinson v. Austin, 545 U.S. 209, 224 (2005). In Wilkinson the Court acknowledged that

 the federal courts of appeals have not reached agreement on the appropriate baseline for determining

 whether conditions of confinement impose hardship such as to give rise to a liberty interest in

 avoiding those conditions. See id. at 223. Without resolving the issue, the Wilkinson Court held that

 conditions of confinement at the Ohio State Penitentiary (“OSP”), which, like Tamms, is a

 supermax prison, imposed atypical and significant hardship on inmates there “under any plausible

 baseline.” Id. The Wilkinson Court examined the aggregate of conditions at the OSP in evaluating

 whether they imposed atypical and significant hardship on inmates such as to give rise to a liberty

 interest. The Court noted the “especially severe limitations on all human contact” at the OSP, and


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 went on to discuss “two added components.” Id. at 224. These were the indefinite duration of an

 inmate’s placement at the prison, and the disqualification of an otherwise eligible inmate for parole

 consideration. See id. The Court observed, “While any of these conditions standing alone might not

 be sufficient to create a liberty interest, taken together they impose an atypical and significant

 hardship within the correctional context. It follows that respondents have a liberty interest in

 avoiding assignment to OSP.” Id. (citing Sandin, 515 U.S. at 483).

        The precise baseline to use in ascertaining whether conditions in the supermax prison at

 Tamms create atypical and significant hardship in relation to the ordinary incidents of prison life has

 been the subject of considerable dispute among the parties to this case. Counsel for Plaintiffs and

 the class propose as the correct baseline conditions at the OSP or, alternatively, conditions in the

 general prison population at the Menard Correctional Center (“Menard”) and the

 Stateville Correctional Center (“Stateville”). Concerning inmates transferred to Tamms from prisons

 outside Illinois, Plaintiffs contend that the baseline is furnished by conditions at the institutions

 where such inmates were confined immediately before they were transferred to Tamms. For their

 part, Defendants argue that the correct baseline is supplied by conditions in disciplinary segregation

 at the Pontiac Correctional Center (“Pontiac”). To the extent Defendants seem to argue that the

 existence of a liberty interest in avoiding confinement of Tamms hinges on the language of IDOC

 regulations, their position obviously is incorrect. As the Wilkinson Court noted, “the touchstone of

 the inquiry into the existence of a protected, state-created liberty interest in avoiding restrictive

 conditions of confinement is not the language of regulations regarding those conditions but the

 nature of those conditions themselves ‘in relation to the ordinary incidents of prison life.’” 545 U.S.

 at 223 (quoting Sandin, 515 U.S. at 484). The basic question, then, is the sort of “expectation or


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 interest” inmates have in light of normal conditions of confinement. Id. at 221 (citing Wolff v.

 McDonnell, 418 U.S. 539, 556-58 (1974)). In an earlier order in this case the Court concluded that

 the correct test of whether confinement in the supermax prison at Tamms imposes atypical and

 significant hardship on inmates such as to give rise to a liberty interest in avoiding confinement there

 is whether confinement at Tamms imposes atypical and significant hardship “under any plausible

 baseline.” Westefer, 2009 WL 2905548, at *4 (quoting Wilkinson, 545 U.S. at 223). Accordingly,

 in light of the three factors identified as relevant in Wilkinson (e.g., limitations on human contact,

 indefinite duration of placement, and the effect of supermax confinement on the length of an

 inmate’s sentence), the Court will examine first conditions at Tamms, then compare those conditions

 to conditions at the OSP, in segregation at Pontiac, and in the general population at

 Menard and Stateville, as well as in prisons outside Illinois from which inmates have been

 transferred to Tamms.

                2.       Conditions at the Supermax Prison at Tamms

                         a.     Limitations on Human Contact

        With respect to the matter of the limitations on human contact imposed by confinement at

 Tamms, it is clear from the record of this case that confinement at Tamms is an experience of very

 intense isolation for inmates. In fact, even before the supermax prison at Tamms was opened

 in 1998, the 1993 final report of the Illinois Task Force on Crime and Corrections, which

 recommended the construction of the supermax prison, cautioned,

        Reputable human rights organizations . . . have expressed legitimate and serious
        concerns about practices in existing super-maximum security facilities. The Task
        Force recommends that our Super-Max facility be required by statute to conform to
        certain requirements concerning constitutional and humanitarian safeguards. Since
        these highly restrictive environments, if misused, can create conditions tantamount


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        to long-term isolation, the Department of Corrections will have to establish clearly
        defined rules and regulations to govern the admission and release of inmates from the
        Super-Max facility and to monitor its operation and administration closely.

 Illinois Task Force on Crime and Corrections, Final Report, at 87-88 (1993) (Plaintiffs’ Exhibit 19)

 (emphasis added). As the Court hopes will be apparent from its discussion of the evidence in this

 case, including the Court’s first-hand observation of conditions at Tamms during a tour of

 the facility in the company of IDOC officials and counsel for the parties to this case, the

 Task Force’s concerns about confinement in the supermax prison at Tamms becoming an experience

 of long-term isolation for IDOC inmates were and are well-founded.

        Generally speaking, the Tamms supermax prison is small by the standards of the other

 prisons in the IDOC system, containing only 520 beds. See Deposition of George Welborn at 54, 56.

 By way of comparison, data on the website of the IDOC (http://www.idoc.state.il.us), which the

 Court can judicially notice, see Denius v. Dunlap, 330 F.3d 919, 926 (7th Cir. 2003); Laborers’

 Pension Fund v. Blackmore Sewer Constr., Inc., 298 F.3d 600, 607 (7th Cir. 2002), reflects that:

 Menard has a capacity of 1,938 inmates and an average daily population of 3,466 inmates; Stateville

 has a capacity of 2,980 inmates and an average daily population of 3,357 inmates; and Pontiac has

 a capacity of 1,058 inmates and an average daily population of 1,612 inmates. The reason that the

 supermax prison at Tamms is relatively small is that the prison is designed to house the worst, most

 problematic inmates in the IDOC system. See Doc. 144 (Second Amended Complaint) at 2 ¶ 2;

 Doc. 148 (Answer) at 1 ¶ 2; Doc. 267-3 (Transcript of Orientation Presentation for Tamms

 Correctional Personnel by George C. Welborn) at 4, 10. Inmates are placed at Tamms in one of

 two categories:     disciplinary segregation or administrative detention.          See Doc. 522

 (Randle Testimony) at 10; Welborn Deposition at 37. Inmates placed at Tamms in disciplinary


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 segregation are those who are deemed to be dangerous even in disciplinary segregation at other

 prisons. See Doc. 522 (Randle Testimony) at 19, 22, 27-28. Inmates assigned to Tamms in

 administrative detention are those who are deemed to be dangerous when housed at other prisons,

 such as validated members of prison gangs or “security threat groups” (“STGs”) as such gangs are

 referred to in correctional parlance. See id. at 19, 22.

        It is undisputed among the parties to this case that the supermax prison at Tamms is the

 highest security prison in Illinois, featuring uniquely restrictive conditions of confinement designed

 both to control the most high-security inmates in the IDOC system and to encourage inmates at

 lower-security prisons to comply with IDOC rules to avoid being transferred to the supermax prison.

 See Doc. 144 (Complaint) at 4 ¶ 7, 4 ¶ 9; Doc. 148 (Answer) at 1 ¶ 2, 2 ¶ 7, 2 ¶ 9; Doc. 175

 (Response to Plaintiffs’ Request for Admissions) at 6 ¶ 13. Consistent with the unique role that the

 supermax prison at Tamms is meant to play in the IDOC system, the prison was never intended

 to be full and has been approximately half-full since its opening in 1998. See Doc. 144 (Complaint)

 at 4 ¶ 8; Doc. 148 (Answer) at 2 ¶ 8; Welborn Deposition at 54-57. IDOC Director Randle testified

 that it is “a good thing” that Tamms operates at about half capacity “because it shows that our staff

 and inmates, for the most part, are doing the right things and our prisons are safe. If Tamms were

 full, I would be concerned about the 27 other prisons [in the IDOC system] because it would indicate

 that there is some bad things happening out there.” Doc. 522 (Randle Testimony) at 44. It appears

 that Tamms has succeeded in its purpose. According to IDOC Director Randle, “incidents of

 inmate-on-inmate assaults, inmate-on-staff assaults, gang related activities, the number of lock down

 days, all of those indicators that we look at in terms of providing a safe environment in the other 27

 prisons have all gone down and that directly correlated with the opening and operation


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 of Tamms.” Id. at 8. It is equally apparent to the Court from the testimony it heard from IDOC

 inmates, including present and past inmates of Tamms, that the inmates genuinely fear the supermax

 prison and do not want to be confined there.

        The salient feature of confinement in the supermax prison at Tamms is the total absence of

 any congregate inmate activities, save with the exception of J-pod, a special treatment unit

 for inmates that have been diagnosed with serious mental illness where inmates are permitted

 to participate in congregate therapy sessions. See Doc. 433 (Transcript of Day 2 of Bench Trial)

 at 112-13. The supermax prison at Tamms consists of nine pods; eight pods have six wings, while

 J-pod has two wings. See Doc. 144 (Complaint) at 4 ¶ 11; Doc. 148 (Answer) at 3 ¶ 11. The wing

 of a typical pod at Tamms has two tiers, each containing five one-man cells and a shower cell where

 inmates bathe individually without privacy. See Doc. 433 (Day 2 Trial Transcript) at 108. Adjacent

 to each wing is an exercise yard. See id. at 108-09. Each pod also contains a multipurpose room to

 which inmates are brought individually for religious services (there are no congregate religious

 services at Tamms), mental health counseling, and, for inmates assigned to Tamms in administrative

 detention, annual transfer review hearings. See id. at 107. There is also a room styled a library

 where inmates are brought individually to review materials that they have ordered ahead of time

 from the central prison library. See id. Each pod contains a medical service area that is equipped

 with a separate shower where both emergency care and extended care can be provided, together with

 dental and optometry services. See id. at 109. With respect to the prison commissary, Tamms does

 not have a commissary of the traditional kind. Instead, inmates order items from a company outside

 the prison which are then brought to their cells; in general inmates may not spend more

 than $30 per month. See id. at 111. In sum, inmate life at Tamms is structured so that inmates


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 spend the vast majority of their time alone in their cells and, barring a medical crisis severe

 enough to require a visit to the prison’s infirmary for long-term medical care, all of their time in their

 assigned pod. See id. at 109.

         Each cell at Tamms is approximately nine feet by fifteen feet with walls that are

 approximately nine feet high. A typical cell at Tamms is of pre-cast concrete construction,

 containing a toilet and sink, a stainless steel mirror (for inmates who are authorized to have one), a

 small shelf high on the wall by the door, a concrete slab for use as a desk, a concrete bunk on which

 to sleep (with, perhaps, a mattress) at the far end of the cell opposite the door, and a window set at

 the top of the wall over the bunk; all of the furniture in a typical Tamms cell is made of reinforced

 concrete.     See Doc. 433 (Day 2 Trial Transcript) at 108; Photographs of Tamms

 (Plaintiffs’ Exhibit 12); Doc. 144 (Complaint) at 5 ¶ 13; Doc. 267-3 (Welborn Orientation

 Presentation) at 9. The window of a typical Tamms cell cannot be operated from inside the cell and

 is positioned so that, without making unusual efforts, all that an inmate can see through it is a sliver

 of sky. See Tamms Photographs (Plaintiffs’ Exhibit 12); Doc. 267-3 (Welborn Orientation

 Presentation) at 9; Doc. 144 (Complaint) at 5 ¶ 13; Doc. 514 (Testimony of Rodney Guthrie) at 21.

 The door of a typical cell is made of steel mesh perforated with small holes so as to reduce severely

 visibility inside and outside the cell. See Tamms Photographs (Plaintiffs’ Exhibit 12); Doc. 144

 (Complaint) at 5 ¶ 13; Doc. 148 (Answer) at 3 ¶ 13. There is a small chuck hole in the door of each

 cell; through the chuck hole an inmate receives and returns plastic trays bearing his meals

 (all Tamms inmates eat alone in their cells). See Tamms Photographs (Plaintiffs’ Exhibit 12);

 Doc. 144 (Complaint) at 5 ¶ 14; Doc. 148 (Answer) at 3 ¶ 14. The chuck hole is locked from the

 outside and provides no visibility into or out of the cell. See Tamms Photographs (Plaintiffs’


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 Exhibit 12); Doc. 144 (Complaint) at 5 ¶¶ 13-14; Doc. 148 (Answer) at 3 ¶¶ 13-14. Inmates at

 Tamms are only permitted two small property boxes and there are limits on the amount of individual

 items of property they may have; for example, inmates may keep a maximum of twenty-five books

 and fifteen pictures in their cells. See Doc. 433 (Testimony of James Hughes) at 80-81. Tamms

 inmates spend between twenty-three and twenty-four hours a day in their cells. See Doc. 144

 (Complaint) at 5 ¶ 13; Doc. 148 (Answer) at 3 ¶ 13. Depending on their behavioral status, inmates

 are permitted to have either a television or a radio, or else a television and a walkman, in their cells.

 See Doc. 144 (Complaint) at 5 ¶ 13; Doc. 148 (Answer) at 3 ¶ 13. Because inmates at Tamms

 are not given work assignments (and thus cannot earn wages), it may be difficult for indigent inmates

 to afford a television, radio, or walkman. See Doc. 175 (Response to Request for Admissions)

 at 17 ¶ 83; Doc. 433 (Testimony of Alonzo Franklin) at 38-39.

         As noted, inmates at Tamms spend the vast majority of their time alone in their cells.

 Inmates assigned to Tamms in disciplinary segregation are permitted at least one shower a week and

 up to five hours of exercise yard time per week. See Tamms Closed Maximum Security Facility

 Inmate Orientation Manual (Plaintiffs’ Exhibit 11) at 26. Inmates who are placed at Tamms in

 administrative detention are permitted to leave their cells according to which of three security

 “levels” they have been assigned by reason of the quality of their behavior and the length of time

 they have been at Tamms. See id. at 26-27. As administrative detention prisoners move from

 level one to level three, they are granted more privileges: thus, administrative detention prisoners

 in level one are permitted two showers per week and two hours of exercise yard time per week, and

 administrative detention prisoners in level three are permitted five showers per week and seven hours

 of exercise yard time per week. See id. An exercise yard at Tamms is an empty concrete room with


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 a hard composite deck that is about fifteen by twenty feet (approximately the size of two cells), with

 walls about thirty feet high; only about a third of the yard is uncovered, and through this

 small uncovered space inmates occasionally are able to see a bird or an airplane passing overhead.

 See Tamms Photographs (Plaintiffs’ Exhibit 12); Doc. 433 (Day 2 Trial Transcript) at 108-09;

 Doc. 144 (Complaint) at 7 ¶ 19; Doc. 148 (Answer) at 5 ¶ 19; Doc. 514 (Guthrie Testimony) at 22.

 A typical exercise yard in the supermax prison at Tamms does not contain a

 bathroom, a water fountain, or any kind of exercise equipment (such as a basketball hoop,

 for example). See Tamms Photographs (Plaintiffs’ Exhibit 12); Doc. 144 (Complaint) at 7 ¶ 19;

 Doc. 148 (Answer) at 5 ¶ 19. Tamms inmates go to the exercise yard alone (observed by an

 armed guard in a control center) and the inmates are not permitted to exercise together. See Doc. 144

 (Complaint) at 7 ¶ 18; Doc. 148 (Answer) at 5 ¶ 18. Additionally, an inmate may be deprived of

 his exercise yard privileges for an extended period as a result of infractions of prison

 discipline. See id.

        Consistent with the general prohibition of congregate inmate activities at Tamms, the

 supermax prison imposes heavy restrictions on the ability of inmates to communicate with one

 another. Inmates at Tamms are not permitted to communicate with other prisoners when outside

 their cells, and while it appears that inside their cells inmates can communicate with inmates in other

 cells, they can do so only with considerable difficulty. As noted, the doors of the cells at Tamms are

 made of steel mesh, so that an inmate cannot see into or out of a cell without hindrance. Thus,

 inmates cannot see one another and can communicate between cells only by standing beside the door

 of their cells and speaking loudly so as to be heard in other cells. IDOC inmate Larry Strickland,

 who was confined at Tamms from May or June of 1998 until approximately October of 1999 and


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 who now is confined at Pontiac, testified to the unique difficulty of communicating with other

 inmates at Tamms:

        Down at Tamms you can’t communicate with nobody because you don’t know if
        somebody on the other yard or not. And it’s hard, you know, if you don’t know a
        person if you can’t see a person it’s hard to, you know, communicate. ‘Cause you
        don’t know who you are talking to. Most people just don’t talk to anybody unless
        they see you and able to see who you are or what.

                                                ****

        And it’s just you seem like you all alone, like there’s nobody there. But you,
        even though you got somebody next door to you it’s like you
        communicating – when you do communicate it’s like you communicating with that
        person at a long distance.

                                                ****

        THE COURT: Now why is it that you can’t communicate with your neighbor
        at Tamms?
        THE WITNESS: Because it’s like you in the cell, you in the back of your cell, and
        if he call you, he don’t call you loud enough you won’t hear him. You see what I’m
        saying? If you have a TV or radio or you watching your TV or your radio you
        can’t hardly hear the other people because you – the cell is big and you in the back
        of it. You all the way in the back of the cell. And if you come to the front it’s just
        not the same. You know, you have to stand at the door and you have to communicate
        standing at the door and it’s not for very long because it’s an uncomfortable situation.
        Even if you sit down you sitting on the hard floor unless you get your pillow and put
        it on the floor. But if you moving around and somebody call you, you – you – and
        you don’t want to just stand at the door all the time and just talk because you
        get tired.

 Doc. 514 (Testimony of Larry Strickland) at 9-10, 13-14. As Strickland’s testimony suggests, the

 fact that Tamms inmates must wear earbuds when using a television or radio also hampers what little

 communication inmates at Tamms are able to conduct between cells; former Tamms inmate

 Rodney Guthrie testified similarly about the effect of earbuds on communication among inmates of

 the supermax prison. See id. (Guthrie Testimony) at 22, 23-24.



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        Every IDOC inmate testifying in this case who currently is confined or who formerly was

 confined in the supermax prison at Tamms complained bitterly of the intense isolation caused by the

 pervasive lack of contact with other inmates. For example, IDOC inmate Johnny Almodovar, who

 has been confined at Tamms since March 1998, testified as follows:

        THE COURT: . . . [Y]ou told me earlier that here, just like the other prisons, you can
        communicate between your cell bars with the other prisoners. What’s different?
        Describe it to me so when I write it down I can say: This, you know, this witness
        told me this and this is what’s different. And he should know he’s been to a lot of
        prisons. What is the difference?
        THE WITNESS: Isolation from communicating with other people. Communicating
        with other people just to go on the yard with other people, you know. To have that
        connection with someone, you know. You can talk to someone behind a door and
        you are isolated 23 hours a day. But it is a totally different situation if you are
        allowed to be with other inmates around and communicate, you know. And that
        type of way it’s totally different. You got to have – you got to be in that
        situation to understand that. And it takes a toll. And it takes a big toll. I don’t feel
        the same.

 Doc. 433 (Testimony of Johnny Almodovar) at 69-70. Rodney Guthrie, who was confined at Tamms

 from April 2000 until January 2007 and who now is confined at Pontiac, went to truly remarkable

 lengths to escape from the loneliness and monotony imposed on Tamms inmates by the regime of

 strict isolation at the supermax prison. Guthrie advised prison officials at Tamms that he intended

 to escape from the prison, even though he had no intention of attempting an escape, so that he could

 be classed as an escape risk and therefore be moved at regular intervals to different parts of the

 prison, thereby increasing Guthrie’s opportunities for possible communication with other

 Tamms inmates:

        Q. Okay. I also see that you are wearing green stripes on your shirts. Can you tell
        us what that is?
        A. Level E status. That means high escape risk.
        Q. And how did you come about classified as level E?
        A. That happened at Tamms in 2002.


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        Q. What happened?
        A. Well, they had placed me at Tamms and, you know, the monotony was getting
        to me, things like that. By being stuck in that cell and nobody to talk to and just
        minimum contact with other inmates or staff or whatever. And in order to move
        around and be able to talk to other people, things like that, I wrote a letter to the
        major saying that if he don’t move me out of the cell by 3:00 I be halfway to
        Chicago. And things like that.
        Q. And it was after that that they classified you as high escape risk?
        A. Yeah, they made me level E.
        Q. Why is being classified as high escape risk something that you wanted to happen?
        A. Well, because I didn’t actually – I just wanted to move around because I was
        stuck in that one cell. I wanted to move around from pod to pod from wing to wing
        so I could be able to, you know, talk to other people, you know. I wanted to break
        up the monotonous routine.
        Q. It is now seven years later and you are still –
        A. Level E.
        Q. Have they told you what you need to do to get out of level E?
        A. No, they never told me.

 Doc. 514 (Guthrie Testimony) at 18-19.

        A number of IDOC inmates who are or who formerly were confined at Tamms gave

 testimony in this case that specifically linked the intense isolation at Tamms to deterioration of

 their mental health that they suffered during their confinement in the supermax prison.

 For example, Larry Strickland, a former Tamms inmate, as noted, who currently is confined at

 Pontiac, testified that confinement at Tamms is “a lot more stressful” than confinement at Pontiac

 precisely because inmates at Tamms cannot communicate effectively with each other. Doc. 514

 (Strickland Testimony) at 9. Strickland also testified that while he was at Tamms he began

 experiencing auditory hallucinations or “hearing voices” and suffered delusions that correctional

 personnel at the supermax prison were poisoning his food. Id. at 10. Ultimately Strickland was

 transferred out of Tamms to the Psychiatric Unit of the Dixon Correctional Center, where he

 remained for approximately a year before being transferred to Pontiac.            See id. at 8-9.



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 Similarly, Rodney Guthrie testified that he had no history of psychiatric disorders before being

 transferred to Tamms and that, following his transfer to the supermax prison, he fell into a severe

 depression caused by the isolation at Tamms that ultimately prompted him to have himself classified

 as an escape risk in a desperate bid to escape from that isolation:

        Q. Did you notice any change in yourself, your mental attitudes while you were at
        Tamms?
        A. Well, um, when they first sent me there I was maybe in a depressed state, you
        know. I contacted mental health after dealing with them for maybe five years out of
        the whole time I was there just to keep my sanity to have nobody to talk to. They pull
        me out maybe once every two weeks, see how I’m doing, things like that. We talk
        about social issues, prison issues, things of that nature. For the most part I was in a
        depressed state. That’s what led me to become a level E.
        Q. Did you have those depression problems before you went to Tamms?
        A. Naw. No.

 Id. (Guthrie Testimony) at 22-23. As IDOC inmate Johnny Almodovar said, and as the testimony of

 inmates Larry Strickland and Rodney Guthrie illustrates, the intense deprivation of human

 contact at Tamms exacts a toll on the psychological well-being of the inmates of the

 supermax prison.

        While cases of IDOC inmates who suffered decompensation while confined at Tamms could

 be recounted at great length, the Court merely will note a couple of additional examples.

 Plaintiff Felton testified that the isolation of his confinement at Tamms prompted him to mutilate

 himself and to attempt suicide:

        . . . I was in isolation for long periods of time. I wasn’t allowed to make any
        telephone calls to my relatives and family members. I didn’t have any physical or
        social interaction with the people that was at the institution that I was at.
        Q. Did that have any effect on your mental health?
        A. Yes, it did.
        Q. Tell us about that.
        A. While I was at Tamms I was in what was called physical psychotherapy
        for seven and a half years through the mental health services at Tamms due to


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         the isolation.
         Q. Before that didn’t you have a particular problem before that got you into therapy?
         A. Yes. I suffer from bipolar disorder prior to going to Tamms. While at Tamms
         I suffer from self-mutilation and other psychiatric problems.
         Q. In fact, you attempted suicide?
         A. That’s correct.
         Q. You were put in a suicide cell stripped out?
         A. That’s correct.

 Doc. 482 (Testimony of Robert Felton) at 4. Finally, IDOC inmate Ronnie Carroll, who was

 confined at Tamms from July 1998 until July 2004 and who now is confined at Pontiac,

 testified that he has had no history of mental problems since he was transferred out of Tamms.

 Doc. 514 (Testimony of Ronnie Carroll) at 44. However, while he was confined at Tamms,

 Carroll testified,

         I held a record there for while I was on suicide watch consecutive for like 57 days so,
         or 15-minute watches, a stripped out cell in the hospital with nothing but a gown
         and a little foam mat. I had a number of mental health issues at Tamms as far
         as suicidal thoughts, depression, a lot of mental health people and things of
         that nature.

 Id. at 43-44. In fact, after mandatory supervised release (that is, parole) or discharge from

 IDOC custody, mental health problems are the most common reason that inmates are transferred

 out of Tamms. See Ten-Point Plan (Plaintiffs’ Exhibit 7), Table 4.

         Importantly, unlike Carroll, who, as noted, has experienced no further mental problems since

 his transfer out of Tamms, a number of former inmates of Tamms testified that, due to the extreme

 isolation in which they were confined at the supermax prison, they have experienced ongoing mental

 difficulties even after their transfer out of Tamms to lower-security facilities where they have much

 freer access to other inmates. For example, Plaintiff Sparling, who spent six years and seven months

 at Tamms, testified that as a continuing result of his past confinement in the supermax prison he does



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 not like to be around other people and that after he was transferred out of Tamms he found it difficult

 to adjust to sharing a cell with another inmate:

        Q. Have you noticed any changes in yourself since you were at Tamms?
        A. Whew, yeah.
        Q. Tell us about that.
        A. Well, I – I’m going to have to say being in isolation is kind of a trip. If you are
        not pretty strong then you might become a bug. I mean, have mental issues.
        Q. But how about you personally? Did you notice any change once you got
        out of Tamms as compared when you were back at Menard before you went
        to Tamms?
        A. Yeah, I don’t like being around crowds too much. Being around people . . . . [I]t
        was a trip having a celly, being in isolation for so long, to have to live with another
        man, you know? But . . . being in isolation is kind of hard.

 Doc. 513 (Testimony of Michael Sparling) at 13. Plaintiff Burrell, a Tamms inmate for over seven

 years, gave similar testimony about suffering a continuing sense of paranoia after his transfer out of

 the supermax prison:

        Mentally sometime, I guess I would be – it took me a while to adjust to my
        surrounding. I’m somewhat – I became more paranoid. For some reason I became
        paranoid after leaving Tamms – as I’ve stated before I’ve been around hundreds of
        men, fox holes, and, I mean, in the military and out of the military and welding
        schools, and never experienced any form of paranoid before in my life that I ever
        known of until I was released from Tamms.
        Q. And you are housed currently at where?
        A. Centralia.
        Q. And that’s a medium security institution?
        A. It’s a medium or – I believe minimum.
        Q. Okay. And there you have an opportunity to go out and mingle with people at
        will during certain times of the day?
        A. Yes.
        Q. Do you take advantage of all those opportunities?
        A. I force myself to do these things.
        Q. And did you used to have to force yourself to have to do them?
        A. No.
        Q. When did that change?
        A. After Tamms. Well, before I was released from Tamms I guess.

 Doc. 417 (Testimony of Roosevelt Burrell) at 46-47.


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         Although, again, the Court could recount at length instances of former Tamms inmates who

 have experienced ongoing mental problems as a result of confinement in the supermax prison,

 instead the Court merely will note a few additional examples. Plaintiff Sorrentino, who was an

 inmate at Tamms for over ten years, testified to the great difficulty he has experienced trying to

 adjust to being in the company of other people after he was transferred out of Tamms:

         Q. How about your mental state, has that changed at all since you were in Tamms?
         A. Well, I’m stressed out most of the time. A lot of anxiety. If I even think that I’m
         getting a call pass my stomach starts to hurting, I have murmurs – palpations [sic],
         I mean. The mornings of yard, stressed out. I’m not good around people anymore.
         I don’t want to be around people.
         Q. And were you that way before you went to Tamms?
         A. No.

 Doc. 417 (Testimony of Joe Sorrentino) at 51. Plaintiff Clayton testified that, although he is no

 longer confined at Tamms, “it [confinement at Tamms] still bother me,” and stated flatly that, as a

 result of his time at Tamms, “I don’t trust nobody.” Doc. 513 (Testimony of Leverne Clayton) at 6.

 Plaintiff Knox, a Tamms inmate for nearly eleven years, commented of his recent transfer out of the

 supermax prison, “I got to get readjusted to everything. Basically like a little child again. That’s like

 I say it’s kind of scary just being around people again. Having a cell mate again after 11 years.”

 Doc. 417 (Testimony of Ted Knox) at 35-36. Finally, Plaintiff Bivens, who was an inmate at Tamms

 from July 1998 until December 2001, testified that as a result of his confinement in the supermax

 prison he has had ongoing difficulty with “not being able to look people in the face or in the eye

 when I’m speaking to them” as well as with a “depressive state” and “not being able to sleep” after

 he was transferred out of Tamms. Id. (Testimony of Aryules Bivens) at 23. In sum, it appears that

 the psychic toll exacted by long-term confinement in the intensely isolated circumstances of Tamms

 is, in many instances, a continuing one.


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        In addition to being isolated in their cells up to twenty-four hours a day and forbidden to

 participate in any congregate inmate activities, Tamms inmates are isolated in other respects as well.

 For example, although the majority of Tamms inmates are from Chicago or the Chicago area, Tamms

 is located 360-370 miles from Cook County, Illinois, making it difficult for the families of inmates

 to visit their loved ones at the prison. See Doc. 144 (Complaint) at 7-8 ¶ 20; Doc. 148 (Answer) at 5

 ¶ 20; Ten-Point Plan (Plaintiffs’ Exhibit 7), Table 1; Doc. 267-3 (Welborn Orientation Presentation)

 at 7-8. Moreover, extremely strict limitations are placed on visits and telephone calls at Tamms.

 All prospective visitors must submit a visitor interview form, which must be approved by the

 Internal Affairs Office at Tamms before a visit is allowed; an appointment must be made for a

 specific date and time at least ten days in advance of the requested visit. See Tamms Inmate

 Orientation Manual (Plaintiffs’ Exhibit 11) at 16-17. If a visitor is twenty minutes late for his or her

 scheduled visit at Tamms, the visit is subject to being cancelled. See Doc. 175 (Response to Request

 for Admissions) at 10 ¶ 41. All visits are non-contact, with inmates chained to the floor during

 visits and all conversation conducted through plexiglass windows via an intercom system; also, all

 non-legal visits are monitored by Tamms correctional personnel. See Ill. Admin. Code tit. 20,

 § 505.80(b)(2); Doc. 433 (Day 2 Trial Transcript) at 110; Tamms Inmate Orientation Manual

 (Plaintiffs’ Exhibit 11) at 15; Tamms Photographs (Plaintiffs’ Exhibit 12); Doc. 144 (Complaint)

 at 8 ¶ 20; Doc. 148 (Answer) at 5 ¶ 20. Visits between an inmate and his attorney take place in a

 specialized, non-contact visiting room; a correctional officer is seated in a special area separate from

 the inmate and the attorney so that if papers need to be passed between the two, the officer may

 do that. See Doc. 433 (Day 2 Trial Transcript) at 110-11; Doc. 144 (Complaint) at 8 ¶ 22; Doc. 148

 (Answer) at 5 ¶ 22. As to telephone privileges, Tamms inmates have none and may use the


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 telephone only in emergencies and for legal matters; also, they may not initiate calls to an attorney.

 See Ill. Admin. Code tit. 20, § 505.80(a); Ten-Point Plan (Plaintiffs’ Exhibit 7) at 22; Doc. 522

 (Randle Testimony) at 32. Ronnie Carroll, who as already has been noted is a former Tamms inmate

 now housed at Pontiac, where he has telephone privileges, testified that “[a]t Tamms I was down

 there six years I never used the phone in any way, shape, or form.” Doc. 514 (Carroll Testimony)

 at 40. Similarly, Johnny Almodovar testified that, following over eleven years of confinement at

 Tamms, he has been permitted to use the telephone only once, when his mother died. See Doc. 433

 (Almodovar Testimony) at 63, 70.

        On the record before the Court, it is abundantly clear that the first of the three factors

 identified by the Wilkinson Court as relevant to the existence of a due process liberty interest in

 avoiding confinement in a supermax prison, severe limitations on all human contact, is present in

 this case. In an earlier decision in this case the United States Court of Appeals for the

 Seventh Circuit observed that, if Plaintiffs’ allegations are true, “being confined to Tamms is to be

 subjected to virtual sensory deprivation, with prisoners forced to spend most days doing literally

 nothing but staring at the four blank walls of their cells.” Westefer v. Snyder, 422 F.3d 570, 589

 (7th Cir. 2005). The record shows that this is indeed the case. The Court notes that a large

 population of Tamms inmates are poorly educated, if not illiterate, and therefore cannot beguile their

 time in isolation through activities like reading and letter-writing.          See Ten-Point Plan

 (Plaintiffs’ Exhibit 7) at 4 (Tamms inmates are less likely than inmates in other IDOC prisons to

 have a high school diploma or GED). For those inmates, the long hours that they must spend alone

 in their cells at Tamms must weigh especially heavily. With that observation, the Court turns to

 consideration of the other relevant factors identified in Wilkinson.


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                        b.     Indefinite Duration of Placement at Tamms

        As already has been discussed, the second factor identified in Wilkinson as relevant to the

 existence of a liberty interest in avoiding confinement at a supermax prison is whether placement

 at such a prison is of indefinite duration. It is clear from the record that under existing IDOC

 procedures placement at Tamms is of indefinite duration and that inmates transferred to the prison

 know neither how long they will be confined there nor how they can effect transfer out of the prison

 through good behavior. According to George Welborn, who was closely involved in the design of

 Tamms and who served as the first warden of the supermax prison, when Tamms opened in 1998

 his view and that of most IDOC officials was that an inmate assigned to the prison who behaved well

 should not stay more than a year at Tamms. See Doc. 267-3 (Welborn Orientation Presentation)

 at 3, 7-9; Welborn Deposition at 69-71. However, when Welborn retired in 2002, most of the

 inmates who had been transferred to Tamms when it opened were still there.                      See

 Welborn Deposition at 71-72. It appears that the change in policy concerning the duration of an

 inmate’s stay at Tamms may have come about in part as a result of a decision by IDOC officials to

 require Tamms inmates to renounce their gang affiliations as a prerequisite for transferring out of

 the supermax prison. As IDOC Director Randle acknowledged in his testimony before the Court, for

 many Tamms inmates renunciation of gang affiliations would be “an automatic death sentence.”

 Doc. 522 (Randle Testimony) at 23. A current Tamms inmate, Johnny Almodovar, explained that

 inmates who participate in the gang renunciation procedure may be perceived as informers by

 other inmates:

        Q. What is this renunciation?
        A. I don’t know. I never went out there. I wasn’t never concerned about it.
        Q. All right.


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        THE COURT: Well, let me stop you there. Why wouldn’t you be?
        THE WITNESS: Because supposedly – this is word that’s going around, that
        supposedly when you go out there you suppose to be a stool pigeon and tell these
        people everything they want to hear. And if you don’t tell them that, then, you know,
        it is a waste; you are not going to leave from down here. And that’s the last thing I
        want to do is to be marked and to be – have other inmates thinking that I’m telling
        something, you know. That’s – that’s – that’s not – that’s something I don’t want a
        label on myself.

                                               ****

        Q. Why would you want to avoid that label, what impact would it have?
        A. It can get you killed. Definitely get you killed. You know, I mean it’s not no
        secret. Everybody knows that. A stool pigeon will get you hurt. You know, so,
        that’s the last thing I want to associate myself with. Especially in these conditions.
        I mean, com’on now.

 Doc. 433 (Almodovar Testimony) at 66-67. Thus, in some instances inmates may have preferred

 to remain at Tamms rather than renounce their gang affiliations, although even inmates who have

 renounced such affiliations can remain confined at Tamms. See id. (Hughes Testimony) at 84

 (the witness remained confined at Tamms notwithstanding having renounced his gang affiliation

 almost two years earlier).

        IDOC Director Randle’s Ten-Point Plan acknowledges that “[a]s part of the current

 orientation process, inmates are not informed of how long they should expect to be

 incarcerated at Tamms . . . and the process of earning privileges based on positive adjustment

 behavior is under-amplified.” Ten-Point Plan (Plaintiffs’ Exhibit 7) at 16. This is borne out by the

 testimony of IDOC inmates confined at Tamms.              For example, current Tamms inmate

 Alonzo Franklin testified as follows:

        Q. . . . [H]as anybody told you well has anybody given you a date by which you will
        be transferred out of Tamms?
        A. No, sir.
        Q. Has anybody given you a list of things you need to accomplish in order to get out


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        of Tamms?
        A. No, sir.
        Q. Has anybody told you anything about what you can do to earn your way out
        of Tamms?
        A. Renounce [the witness’s gang affiliation].
        Q. Anything else?
        A. No, sir.
        Q. Is it your understanding if you renounce that you are guaranteed to get out of
        Tamms?
        A. No.
        Q. Okay.

 Doc. 433 (Franklin Testimony) at 46. Similar testimony was given by other Tamms inmates, such

 as Manuel Bobee:

        Q. Did they tell what you are supposed to do to get back out of Tamms?
        A. Nothing.

                                                ****

        Q. And has anybody told you yet when you are leaving Tamms?
        A. No.

 Id. (Testimony of Manuel Bobee) at 94. See also Doc. 507 (Testimony of Kennard Combs) at 8.

 (Plaintiff Combs, who currently is confined at Tamms, testified that upon arriving at the supermax

 prison he was told neither how long he would be confined there nor any specific things that he

 needed to do to be transferred out of the prison); Doc. 433 (Hughes Testimony) at 84 (testifying that,

 apart from advising the witness to renounce his gang affiliation and to complete his term of

 disciplinary segregation, IDOC personnel had furnished no guidance about what to do to be

 transferred out of Tamms).

        Some inmates testified to receiving misleading information from IDOC personnel about the

 likely duration of their confinement at Tamms and what they needed to do to be transferred out of

 the prison. For example, Plaintiff Sparling testified that during orientation at Tamms he was told


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 that he would be confined at Tamms only for a year, provided that he behaved himself and was not

 disciplined: “[W]hen we came in for orientation they said do your year, go through level systems,

 don’t get any tickets, and we will ship you out of Tamms.” Doc. 513 (Sparling Testimony) at 11-12.

 Although Sparling complied with these instructions, in fact he remained at Tamms, as already has

 been noted, for six years and seven months, his confinement at the supermax prison being explained

 to him only as that he was “[p]roperly placed.” Id. at 12. See also Doc. 514 (Carroll Testimony)

 at 37 (the witness testified that the common understanding among IDOC inmates in 1999 was that

 placement at Tamms was only for a year). Relatedly, IDOC inmate Gene Arnett, who currently is

 confined at Tamms, testified that IDOC personnel have told him that because of his poor disciplinary

 record he will never be transferred out of the supermax prison:

        Q.   And has anybody told you how long you are likely to stay here at Tamms?
        A.   Wardens have told me I’m never leaving Tamms.
        Q.   Have they told you what you can do to modify your behavior to get out of here?
        A.   They’ve told me because of my past I will never leave Tamms.

 Doc. 433 (Testimony of Gene Arnett) at 75.

        Significantly, even Tamms inmates who have maintained clean disciplinary records for

 years remain at the supermax prison, with no idea how long they may be confined there.

 For example, IDOC inmate Richard McCue testified that he remains confined at Tamms despite not

 having received a disciplinary ticket in nine years and despite having been in level three, which, as

 already has been discussed, is the security level assigned to the best-behaved Tamms inmates and

 the one that carries the most privileges, for eight years:

        Q.   When is the last time you got a disciplinary report here at Tamms?
        A.   Nine years ago.
        Q.   And you are currently in level three here the [administrative detention] level?
        A.   Oh, yeah.


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        Q. How long have you been in level three?
        A. Probably about eight years at least.

 Doc. 433 (Testimony of Richard McCue) at 105. Similarly, Manuel Bobee has been in level three

 for six years and has not received a disciplinary ticket in approximately the same amount of time,

 yet he remains confined at Tamms with no idea as to how much longer he will remain at the

 supermax prison:

        Q.   Did [the IDOC] tell what you are supposed to do to get back out of Tamms?
        A.   Nothing.
        Q.   Now once you got into administrative detention, you were in level one, right?
        A.   Yes.
        Q.   Are you still in level one?
        A.   No, I’m at level three.
        Q.   How long have you been at level three?
        A.   Mmm Mmm, right now it’s been about five years, maybe six years.
        Q.   And has anybody told you yet when you are leaving Tamms?
        A.   No.
        Q.   How long has it been since you got a disciplinary report?
        A.   The year 2003 or about 2003 or something around there.

 Id. (Bobee Testimony) at 94-95. Finally, Johnny Almodovar testified that, despite having been in

 level three for six years and not having received a disciplinary ticket in that time, he remains

 confined at Tamms with no end in sight. See id. (Almodovar Testimony) at 65.

        On the record before the Court, the Court concludes that placement at Tamms is indefinite

 and “the only time limit is the length of the underlying sentence.” Westefer, 422 F.3d at 589.3

 Importantly, among the reforms proposed by IDOC Director Randle’s Ten-Point Plan regarding

 Tamms is to inform inmates on their arrival at the supermax prison of the likely duration of their


 3.    In fact, statistical data assembled by the IDOC shows that the average time served for the
 current population at Tamms is 73.4 months, or over six years. See Ten-Point Plan (Plaintiffs’
 Exhibit 7) at 6. Seventy of the 243 inmates (28.3%) have been at Tamms for at least ten years, and
 more than half have been at Tamms for over five years. See id. at 8. Over three-quarters (76.9%)
 or 190 of the inmates at Tamms have been there for over three years. See id., Table 4.

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 confinement there and to offer them behavioral goals to meet in order to be released in that time

 frame, with periodic updates as to whether they are meeting those goals. See Ten-Point Plan

 (Plaintiffs’ Exhibit 7) at 16. IDOC Director Randle testified:

        One of the concerns that was expressed to me during my tour at [Tamms] by the
        inmates was that in a lot of cases they did not know or they said they weren’t told
        how long they could expect to stay. What we've said in the 10 Point Plan is that we
        will give the offender a range. Once they’ve been approved for placement in Tamms
        what I expect staff to do is, based on how long a person has been there for a similar
        offense, based on correctional professional judgment, to tell the person a range of
        time that they can expect to be at Tamms.

                                               ****

        Now from there what we expect the staff to do is tell the offender how they can
        impact that one to three years and make it closer to one year rather than the three
        years by getting involved in programming, by their interactions with staff, by not
        getting conduct reports, by engaging in program activities when they have an
        opportunity. All of those things can help a person get closer to the lower end of that
        range rather than the longer end of that range. And, again, this is an estimate based
        on our staff’s professional judgment, based on the offense that they committed to get
        placed at Tamms, and how long we think they will be there.
        Q. Will the inmate get feedback after that on whether or not they’re meeting their
        goals or whether they fall short?
        A. That would come at those 90 day reviews they give them feedback and tell them
        how they've done in the past 90 days, what they need to work on, what they
        may need to get involved in, what staff have been saying about their
        interactions with staff, their attitudes and behaviors, those things happen during
        those 90 day reviews.

 Doc. 522 (Randle Testimony) at 13-14. In the Ten-Point Plan the IDOC effectively concedes

 that, hitherto, inmates arriving at Tamms have not been advised of how long they will be at the

 supermax prison and how they can work to be transferred out of the prison. The second Wilkinson

 factor relevant to the question of whether IDOC inmates have a due process liberty interest in

 avoiding assignment to Tamms, the indefinite duration of placement at the supermax prison, weighs

 in favor of a finding that IDOC inmates have such an interest.


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                         c.      Effect of Placement at Tamms on Length of Sentence

         The Court turns to the third of the Wilkinson factors to be considered in determining whether

 there is a liberty interest in avoiding confinement at Tamms, the effect of placement at the supermax

 prison on the length of an inmate’s sentence. In Wilkinson the Court identified as a factor relevant

 to the existence of a liberty interest in avoiding confinement at the OSP the fact that placement at

 the OSP automatically disqualifies an inmate of the supermax prison from consideration for parole.

 See 545 U.S. at 224. The parties to this action agree that inmates at Tamms are eligible for release

 on parole or mandatory supervised release at the same time they would be if incarcerated at another

 Illinois prison. Nevertheless, as the Seventh Circuit Court of Appeals cautioned at an earlier stage

 of this case, to interpret Wilkinson as “turn[ing] exclusively on the absence of parole constitutes, [in]

 our view, far too crabbed a reading of the decision.” Westefer, 422 F.3d at 590. “The very text of

 the [Wilkinson] decision belies such a claim in noting that, ‘[w]hile any of these conditions

 standing alone might not be sufficient to create a liberty interest, taken together they impose an

 atypical and significant hardship within the correctional context.’” Id. (quoting Wilkinson, 545

 U.S. at 224).

         Further, it is clear from the record that placement at Tamms does affect the length

 of an inmate’s sentence, by rendering the inmate ineligible to receive various kinds of good time

 credit. Under Illinois law, a prison inmate, depending on the nature of his or her underlying

 sentence, is eligible for day-for-day good time credit pursuant to 730 ILCS 5/3-6-3, which provides,

 in relevant part, that “a prisoner who is serving a term of imprisonment shall receive one day of good

 conduct credit for each day of his or her sentence of imprisonment . . . . Each day of good conduct

 credit shall reduce by one day the prisoner’s period of imprisonment[.]” 730 ILCS 5/3-6-3(a)(2.1).


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 See also Thomas v. Sims, No. 05 C 3307, 2006 WL 495941, at *2 (N.D. Ill. Feb. 28, 2006). Thus, a

 Tamms inmate, according to the nature of his sentence, receives day-for-day good time credit in the

 same manner as inmates at any IDOC prison do. See, e.g., Williams v. Johnson, No. 07-cv-35-DRH,

 2009 WL 5183793, at *1 & n.2 (S.D. Ill. Dec. 22, 2009). However, placement at Tamms deprives

 an inmate of the right to earn certain other kinds of good time credit.

        Pursuant to Section 3-6-3 of the Illinois Unified Code of Corrections, most IDOC inmates

 are eligible to receive good time credit for participating in work, education, and substance abuse

 programs:

        The rules and regulations shall also provide that the good conduct credit accumulated
        and retained under paragraph (2.1) of subsection (a) of this Section by any inmate
        during specific periods of time in which such inmate is engaged full-time in
        substance abuse programs, correctional industry assignments, or educational
        programs provided by the Department under this paragraph (4) and satisfactorily
        completes the assigned program as determined by the standards of the
        Department shall be multiplied by a factor of 1.25 for program participation before
        August 11, 1993 and 1.50 for program participation on or after that date.

 730 ILCS 5/3-6-3(a)(4). See also Bryant v. Peters, No. 94 C 2758, 1995 WL 708566, at *1

 (N.D. Ill. Nov. 30, 1995). Also, inmates at most Illinois prisons are eligible to receive meritorious

 good time credit under Section 3-6-3, which states, in relevant part,“The rules and regulations shall

 also provide that the Director [of the IDOC] may award up to 180 days additional good

 conduct credit for meritorious service in specific instances as the Director deems proper[.]” 730

 ILCS 5/3-6-3(a)(3).    See also Rooding v. Peters, 864 F. Supp. 732, 738 (N.D. Ill. 1994).

 Because there are no educational programs or substance abuse programs at Tamms, and Tamms

 inmates are not permitted to hold job assignments, inmates of the supermax prison perforce cannot

 earn good time credit for participating in work, education, and substance abuse programs. See



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 Doc. 175 (Response to Request for Admissions) at 13-14 ¶¶ 61-64, ¶ 66. Additionally, Tamms

 inmates are ineligible to receive meritorious good time credits. See Health Care Unit Request

 Acknowledgment by LCSW Rocky Peppers to IDOC Inmate Sean Jordan (Plaintiffs’ Exhibit 15).

 Because of the strict constraints that placement at Tamms imposes on the ability of the inmates of

 the supermax prison to accrue good time credit, the Court concludes that the effect of placement at

 Tamms is to extend the sentence of an inmate who is confined there.4 Accordingly, the third of

 the Wilkinson factors relevant to the existence of a liberty interest in avoiding confinement at a

 supermax prison, the effect of confinement in such a prison on the length of an inmate’s sentence,

 is satisfied here.

                 3.     Baseline Comparatives of Tamms

                        a.      Conditions at the OSP

         As already has been discussed, the parties to this case have proposed a number of prisons as

 comparatives of Tamms for purposes of determining whether, measured against such prisons as a

 baseline, Tamms imposes atypical and significant hardship in relation to the ordinary incidents of

 prison life. Among these proposed comparatives is the OSP, the supermax prison in Ohio

 that, as already has been discussed, was the subject of constitutional due process scrutiny by the


 4.         The Court recognizes that it is assuming here that, were work, education, and
 substance abuse programs available at Tamms, inmates of the supermax prison would participate in
 such programs. This assumption seems reasonable to the Court. Participation in such programs
 doubtless would be a happy alternative to the crushing monotony of being confined alone in a cell
 for up to twenty-four hours a day that currently is the lot of Tamms inmates. Also, it seems
 probable that Tamms inmates would welcome the opportunity to earn money by participating in
 work programs, in order to purchase small items like walkmans or arch supports that make life in
 a place like Tamms somewhat more bearable. See Doc. 433 (Testimony of Adolfo Rosario) at 50-51
 (the witness, a Tamms inmate, complained that the shoes issued to him by Tamms correctional
 personnel lack arch supports, but he cannot purchase shoe inserts at the prison commissary because
 he is indigent and has no money to spend at the commissary).

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 Supreme Court of the United States in Wilkinson. In Wilkinson the Court outlined the conditions of

 confinement at the OSP as follows:

        Conditions at OSP are more restrictive than any other form of incarceration in Ohio,
        including conditions on its death row or in its administrative control units. The latter
        are themselves a highly restrictive form of solitary confinement. In OSP almost
        every aspect of an inmate’s life is controlled and monitored. Inmates must remain
        in their cells, which measure 7 by 14 feet, for 23 hours per day. A light remains on
        in the cell at all times, though it is sometimes dimmed, and an inmate who attempts
        to shield the light to sleep is subject to further discipline. During the one hour per
        day that an inmate may leave his cell, access is limited to one of two indoor
        recreation cells.

        Incarceration at OSP is synonymous with extreme isolation. In contrast to any other
        Ohio prison, including any segregation unit, OSP cells have solid metal doors with
        metal strips along their sides and bottoms which prevent conversation or
        communication with other inmates. All meals are taken alone in the inmate’s cell
        instead of in a common eating area. Opportunities for visitation are rare and in all
        events are conducted through glass walls. It is fair to say OSP inmates are
        deprived of almost any environmental or sensory stimuli and of almost all human
        contact.

        Aside from the severity of the conditions, placement at OSP is for an indefinite
        period of time, limited only by an inmate’s sentence. For an inmate serving a life
        sentence, there is no indication how long he may be incarcerated at OSP once
        assigned there. Inmates otherwise eligible for parole lose their eligibility while
        incarcerated at OSP.

 Wilkinson, 545 U.S. at 214-15 (citations omitted). As the Court hopes is plain from the discussion

 of conditions in the supermax prison at Tamms set out in previous sections of this Order, any

 difference between conditions of confinement at the OSP and conditions of confinement at Tamms

 is de minimis.

        For example, while it appears that inmates at Tamms are not actually prohibited from

 attempting to communicate between cells, as already has been discussed such communications can

 be conducted only with great difficulty, so much so that IDOC inmate Isiah Bell testified that his



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 verbal communication skills were atrophying the longer he remains in confinement at the supermax

 prison at Tamms. In his testimony Bell told the Court, “[Y]ou have to excuse my social skills I been

 in this kind of situation for so long that I basically don’t know how to talk. I don’t know how to

 express myself. And as you see, it’s kind of hard for me to look you straight in the eye so excuse

 that.” Doc. 433 (Testimony of Isiah Bell) at 19. It seems reasonable to suppose that such

 unsatisfactory communication as Tamms inmates are able to conduct between cells is insufficient

 to stave off the harmful psychological effects of long-term confinement in isolation that, as the Court

 already has discussed, many Tamms inmates, both past and present, display. Similarly, Defendants

 have argued that Tamms is not as harsh as the OSP because prisoners at Tamms earn day-for-day

 good time credit, while prisoners at the OSP do not. However, although prisoners at Tamms are

 eligible for day-for-day good time, they are not eligible, as already has been discussed, for other

 types of good time credit provided for by Illinois statutes, such as good time credit for completion

 of education and substance abuse programs or for holding prison industry jobs, because there are no

 work, education, and substance abuse programs at Tamms, and they are not eligible for meritorious

 good time credit. Defendants point out also that, unlike the OSP, electric lights are not kept on

 twenty-four hours a day in the cells of Tamms inmates. While this perhaps is so, the Court is not

 satisfied that this distinction proves that conditions of confinement at the OSP are significantly more

 restrictive than the conditions of confinement at Tamms.

        The fact is that the IDOC has conceded that the conditions at Tamms are substantially

 identical to the conditions at the OSP. As IDOC Director Randle’s Ten-Point Plan acknowledges,

 “‘supermax’ operations within the Ohio Department of Rehabilitation and Correction are very

 similar to that in Illinois.” Ten-Point Plan (Plaintiffs’ Exhibit 7) at 9. The Court notes also that


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 IDOC Director Randle appears to have been appointed to his current post by Governor Quinn in

 great part because of Randle’s extensive professional experience with the OSP and the

 procedures for placing inmates there, which were found in Wilkinson to comport with procedural due

 process under the Constitution. See Wilkinson, 545 U.S. at 224-30. Before taking his current

 position, IDOC Director Randle worked for the Ohio Department of Rehabilitation and Correction

 for over nineteen years. See Doc. 522 (Randle Testimony) at 5. His last position with that agency

 was as Assistant Director. See id. As Assistant Director in Ohio, Randle worked with legal staff and

 the warden of the OSP to review policies governing placements at the OSP and to make

 recommendations for changes in those policies in light of the Wilkinson decision. See id. at 6.

 Following Randle’s appointment as IDOC Director, one of the first directives he received from

 Governor Quinn was to review the conditions and operational procedures at Tamms. See id.

 Correspondingly, on Randle’s first full day as IDOC Director he spent about ten hours at Tamms,

 toured the prison, talked with the administration, staff, and prisoners, and reviewed policies and

 procedures. See id. at 7. In September 2009 IDOC Director Randle issued his Ten-Point Plan

 which, as already has been noted, recommends to Governor Quinn a number of important changes

 in IDOC procedures related to Tamms. See id. at 8-9. As noted, the Ten-Point Plan has been

 approved by Governor Quinn. See id. at 41-42. The Court already has found that Tamms resembles

 the OSP closely in the three salient respects noted in Wilkinson, e.g., severe limitations on human

 contact, the indefinite duration of placement at Tamms, and the effect of confinement at the Illinois

 supermax prison on the length of an inmate’s sentence. Thus, the Court finds that for purposes of

 procedural due process analysis there are no constitutionally-meaningful differences between the

 conditions of confinement at the OSP and those at Tamms.


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                        b.      Conditions in Segregation at Pontiac

        As already has been noted, Defendants urge that the correct baseline for determining whether

 conditions of confinement at Tamms impose atypical and significant hardship in relation to the

 ordinary incidents of prison life is supplied by conditions of confinement in disciplinary segregation

 at Pontiac, which Defendants aver are the most severe in any maximum security prison in Illinois.

 Counsel for Plaintiffs and the class dispute whether segregation at Pontiac furnishes the correct

 baseline. The Court finds this dispute academic, for the reasons that follow. On December 3, 2009,

 the Court, accompanied by the Warden of Pontiac and counsel for the parties to this case, toured

 Pontiac’s North Cell House, which houses inmates in disciplinary segregation and inmates who have

 been condemned to death. See Doc. 514 (Transcript of Day 7 of Bench Trial) at 3-4, 6-7.

 The Court also toured Pontiac’s West Cell House, a general segregation unit for inmates in

 disciplinary segregation. See id. at 5. As Defendants point out, some conditions of confinement in

 segregation at Pontiac are highly restrictive. For example, at the lower level of the North Cell House

 are the most restrictive of all disciplinary segregation cells at Pontiac; these cells consist of

 individual cells that are open to the range of view by way of plexiglass windows. See id. at 3.

 Additionally, at the lower level of the West Cell House are some cells with doors that are

 meshed in order to house inmates whose behavior is potentially dangerous (or at least a nuisance)

 to passers-by or persons in adjacent cells and who thus cannot be confined in a segregation cell with

 an open-barred front. See id. at 5. However, notwithstanding certain superficial similarities between

 confinement at Tamms and conditions in the segregation units at Pontiac, the Court

 nonetheless concludes that Tamms is an atypical and significant hardship in comparison to

 segregation at Pontiac.


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        First, even prisoners in the closed-front cells at Pontiac enjoy significantly greater human

 contact than do prisoners at Tamms, as they can see and hear gallery workers from the minimum

 security or protective custody units at Pontiac and prisoners being taken back and forth on the gallery

 as they pass the cells on the range. Larry Strickland, who as already has been noted is a former

 Tamms inmate now housed at Pontiac, testified that, even when he was confined at Pontiac in a cell

 with a door covered by glass, he could communicate with other inmates:

        Q. (BY THE COURT:) Mr. Strickland, were you in the cells here that are covered
        with glass?
        A. I’ve been behind the steel door here. Not the ones covered – yeah, I have been
        in the ones covered in glass. But it’s still different from Tamms because you can
        communicate. You could, you know, you could communicate. It’s a lot of people
        around you that you know that you can associate yourself with because they right
        there with you and if something’s going on you right there in the mix. If something’s
        happening if somebody want to pass something you would be involved if they wanted
        you to or you can talk to the guy without, you know, really it’s . . . total[ly] different
        [than Tamms].

 Doc. 514 (Strickland Testimony) at 13. Additionally, all segregation inmates at Pontiac are

 permitted outdoor recreation in dog cages that are open to the air on all four sides. While inmates

 are kept one to each cage, the cages are adjacent to each other, so that inmates are able to talk freely

 and to interact with inmates in adjacent cages. For example, IDOC inmate Charles Harris testified

 that during yard while he was confined in Pontiac’s North Cell House it was possible for him to

 communicate with other inmates, although Harris opted not to go to the exercise yard because it was

 not equipped with water or a bathroom.            See id. (Testimony of Charles Harris) at 29.

 IDOC inmate Alex Pearson, a former Tamms inmate now housed at Pontiac, specifically noted the

 difference between exercise yards at the two prisons:

        Recreate down here in Pontiac segregation they put you in a cage where they got a
        recreation bar so if you choose to exercise or you choose to socialize with the other


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        guys that are in segregation you can do what you choose to. It’s a totally
        different setting. In Tamms it’s – you in a concrete wall where you can barely
        breathe. It is a concrete wall and they have a half a slab there is one little open area
        at the top.

        Down here when you go to the segregation yard it’s outside, it’s outside in the open.
        And they got a cage where it’s like a perforated cage and little cage with a little gate,
        but everybody sees everybody, everybody communicate with everybody. Like I once
        said, it has an exercise bar that Tamms doesn’t have.

 Id. (Testimony of Alex Pearson) at 49-50. As Pearson points out, exercise even in the most secure

 levels of segregation at Pontiac nonetheless permits inmates to communicate with one another easily

 on the yard. This is in sharp contrast, of course, to the exercise yards at Tamms, where, as has been

 discussed already, inmates exercise alone in a bare concrete room with high cement walls that is only

 partially open to the sky.

        Perhaps more importantly, the testimony before the Court establishes that inmates in

 segregation at Pontiac generally spend only limited amounts of time in the most restrictive cells

 before being transferred to open barred cells where they can easily communicate with other inmates.

 For example, IDOC inmate Raymond Larson spent a month in the West Cell House segregation unit

 in June and July of 2009; he was confined in a cell with a meshed steel door for approximately a

 week, but then moved to a regular cell with a barred door:

        Q. . . . So when you were in investigative status here where physically were you,
        what part of the prison?
        A. I was in West Seg.
        Q. And again what was the cell door there like?
        A. I was behind a steel door for approximately a week, and then I was moved to a
        regular cell – barred cell.
        Q. And do you know why the move occurred or maybe otherwise why were you
        behind the steel door at all?
        A. The steel doors are usually used for prisoners that create problems and –
        Q. What had you done to get stuck behind this steel door?
        A. Nothing at all.


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         Q. What did they charge you with?
         A. I was under investigation for – it had something to do with the repair of
         television sets.
         Q. You hadn’t assaulted anybody?
         A. No.
         Q. And you only stayed behind the steel door for a week?
         A. Until a week, yes, sir.

 Doc. 514 (Testimony of Raymond Larson) at 33. In his barred cell Larson could talk to inmates in

 adjacent cells, and could see guards and workers from his cell:

         Q.   In the barred cells in the West Cell House were you able to talk to neighbors?
         A.   Yes, I could.
         Q.   How often did you see other people come by your cell?
         A.    See an officer each meal, each count.
         Q.    Were there workers on the unit?
         A.    Yeah, there would be a gallery worker that would sweep the gallery once a day.
         Q.   Would you see people that walk past your cell going to and from visits?
         A.   Yes.

 Id. at 34.

         Relatedly, IDOC inmate Rodney Guthrie testified that from February to August of 2009 he

 was confined in segregation at Pontiac a cell with a meshed steel door, but that after five or six

 months “behind the steel door” he was able to earn his way to an ordinary barred cell through

 good behavior:

         Q. Have you ever been behind what they call the steel door?
         A. Perforated door.
         Q. Okay.
         A. North Cell House.
         Q. How long was that?
         A. A few months ago.
         Q. How long were you there?
         A. From February till August, about five or six months.
         Q. And how come you are not there any more, what happened to change it?
         A. Well, I don’t know. Just I was put in the lieutenant asking to be moved over to
         the West House or East House so I could get my audio-visual privileges. And one
         day they move me over there. I guess behavior, didn’t catch any tickets or


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        anything like that.
        Q. Something you can earn your way out of here?
        A. Yeah.

 Doc. 514 (Guthrie Testimony) at 19-20.           Currently Guthrie resides in segregation in the

 West Cell House at Pontiac in a one-man barred cell. See id. at 19. In his barred cell, Guthrie is able

 to communicate easily with inmates in neighboring cells and passers-by: “Here [Pontiac] talk to

 anybody you want to. Here you got guys everybody is talking, even people you don’t want to talk

 to want to talk to you. You know what I mean?” Id. at 21.

        Instances from the testimony in this case regarding the difference between segregation at

 Pontiac and confinement at Tamms with respect to the vastly greater degree of liberty that inmates

 have to communicate with one another at the former prison could be set out at some length, but the

 Court merely will note a few additional examples. Concerning the relatively brief time that

 segregation inmates spend in the most restrictive cells at Pontiac, Charles Harris testified that, after

 a fight in December 2008, he spent forty-six days in a cell with a plexiglass window in the door on

 the lower level of Pontiac’s North Cell House. See Doc. 514 (Harris Testimony) at 26-28. He then

 was transferred to an open cell with bars on the upper Two Gallery of the North Cell House, where

 he stayed for forty days before being released from segregation pursuant to a decision from the

 Administrative Review Board. See id. at 28. This is unlike confinement at Tamms where, as already

 has been discussed, inmates spend years alone in cells with meshed steel doors and have no way,

 apart from their parole date, of knowing, when, or if, they will be released from such conditions.

 Alex Pearson testified that for the first thirty days or so that he was in disciplinary segregation at

 Pontiac, he stayed in a cell with a perforated door until he was evaluated.                    See id.

 (Pearson Testimony) at 48. After his evaluation Pearson was moved to a regular barred cell on the


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 gallery with at least fifty other inmates “where guys coming and going, guys that got TVs and radios,

 where the farm workers would be able to communicate with you and things of that nature.” Id. at 49.

 Larry Strickland, who, as already has been discussed, was transferred out of Tamms due to his

 worsening mental condition as a result of the intense isolation of his confinement in the supermax

 prison, noted that confinement in an ordinary barred cell at Pontiac gives even inmates in

 segregation a degree of freedom to communicate with other inmates that is utterly impossible

 at Tamms:

        You can do a lot more communications down here [in Pontiac]. In Tamms – in
        Tamms you couldn’t do that. You couldn’t slide – you could but it was very – it was
        real stressful. It was a lot more stressful trying to get – switch a book or, you know,
        something. Although we not supposed to trade, but we do. We trade books. We
        read each other books, whatever. And you can’t do that at Tamms. It’s just a lot
        more stressful. You could just see right in front of you. That’s it. You can’t, you
        can’t. It’s like you locked in.

 Id. (Strickland Testimony) at 11.

        Significantly, a Pontiac segregation inmate confined in an ordinary barred cell, as opposed

 to a cell with meshed steel door like the cells at Tamms, can not only talk to but also touch and, with

 the aid of a small hand mirror purchased at the prison commissary, see inmates in adjacent cells with

 whom he is talking:

        Q. When you were at Pontiac you could touch somebody else because there were
        bars instead of a solid door?
        A. Yes.
        Q. Who could you touch?
        A. The prisoners next door.
        Q. Just hands?
        A. Yeah, just hands, arms, you know. You could buy a mirror. You could buy a
        mirror, a plastic mirror, you could stick your mirror out and look at them and
        conversate all night.

 Doc. 433 (Bell Testimony) at 33. Again, the conditions of confinement in barred cells at Pontiac as


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 described in the testimony before the Court are in sharp contrast to the conditions of confinement

 at Tamms, where, as already has been discussed, inmates can communicate between cells only with

 great difficulty, and there is no way for an inmate to see, much less touch, an inmate in another cell

 with whom he may be trying to communicate.

        In addition to the much greater freedom to communicate and otherwise interact with other

 inmates that segregation inmates at Pontiac enjoy in comparison to Tamms inmates, there are

 other important differences between segregation at Pontiac and confinement at Tamms.

 For example, Larry Strickland testified that although inmates in segregation at Pontiac do not go to

 church services per se, church groups are permitted on the gallery, and sing with the inmates or

 engage in similar group activities. See Doc. 514 (Strickland Testimony) at 14. Also, Strickland is

 able to attend group therapy with other Pontiac inmates for anger management, substance abuse, and

 similar issues, in contrast, of course, to Tamms where, as already has been discussed, no substance

 abuse programs are available and only inmates in J-pod are permitted to participate to a limited

 degree in congregate counseling. See id. at 16. With respect to yard, in segregation at Pontiac, as

 already has been noted, yard time takes place in dog cages, but during yard a segregation inmate in

 a cage can communicate with inmates in neighboring cages. When a segregation inmate at Pontiac

 completes his segregation sentence, he can attend yard with other inmates, and the exercise yard at

 Pontiac features equipment such as weights and card tables. See id. (Carroll Testimony) at 38.

 Concerning telephone privileges, in contrast to Tamms, where as discussed inmates have no

 telephone privileges save with respect to legal calls and emergencies, Rodney Guthrie testified that

 inmates in A grade and B grade in segregation at Pontiac are allowed to receive one telephone call

 per month. See id. (Guthrie Testimony) at 20. Similarly, Ronnie Carroll, who as already has been


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 noted was never permitted to use the telephone during his six-year confinement at Tamms, testified

 that he was able to use the telephone to talk to his family as soon as he was transferred to segregation

 at Pontiac. See id. (Carroll Testimony) at 40.

         Concerning visits, the strict limitations on visits imposed at Tamms are not in place at

 Pontiac. “The visits at Tamms, . . . you had to get like prior approval for two weeks through internal

 affairs,” Ronnie Carroll testified, but in segregation at Pontiac “as long as the person is on the

 visiting list they can show up on any visiting day at any time and you can go up and visit them.”

 Doc. 514 (Carroll Testimony) at 41. Alex Pearson testified that, although visits to inmates

 in segregation at Pontiac are non-contact, they nonetheless are more satisfactory than inmate

 visits at Tamms:

         Q. Are visits different here than they were at Tamms –
         A. Yes.
         Q. – when you were in segregation?
         A. Yes. When I was in segregation down here I was able to get at least two or three
         visits a month and in order to go to a visit from down here they take you outside.
         They take you for a walk. You go from a walk from the segregation unit all the way
         to like the administration building. And they walk you, escort you up there, nice little
         distance, a nice little walk. Go through same shakedown procedures, but you are able
         to communicate with your people a little bit differently even though you are behind
         the glass.
         But just the walk in general is totally different and the time you are able to spend on
         a visit down here with segregation is different than Tamms. And then your
         people come like a regular general population setting. They don’t have to go
         through a – they do not have to sit in internal affairs for visiting this and a time and
         what time they going to be here. And they don’t have to be within that little short
         frame, 30-minute time period, that they complies that list that they fill out and send
         back to internal affairs.
         Down here your people come if they are on your visiting list they can come from 8:00
         to I think it’s 1:15 your people can come in. They don’t have to be in a 30 minute
         time frame.

 Id. (Pearson Testimony) at 50-51. Additionally, inmates in segregation at Pontiac are allowed to



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 keep more personal property than are inmates at Tamms. Unlike Tamms, where as already has been

 discussed inmates are allowed only two property boxes, fifteen pictures, and twenty-five books, in

 Pontiac prisoners in segregation are allowed to have six property boxes and a TV box, and there is

 no limit on the amount of property they can keep inside those boxes.                   See Doc. 433

 (Hughes Testimony) at 80-81.

        Finally, the Court notes that a number of inmates who testified to experiencing severe

 depression and other mental disturbances while confined at Tamms testified also to significant

 improvement in their mental health after being transferred to the less restrictive conditions of

 segregation at Pontiac. For example, Rodney Guthrie, who, as already has been noted, believed that

 he was losing his sanity due to the intense isolation at Tamms and who deliberately had himself

 classified as an escape risk in an effort to escape the isolation and monotony of Tamms, testified that

 he was happier since being transferred out of the supermax prison at Tamms to segregation at

 Pontiac. Stated Guthrie, “Yeah. I say I’m more cheerful now. You know, more happy now.

 I’m able to wake up, talk to people, you know, socialize with other inmates and things of that nature.

 I say it’s a little bit better here than being at Tamms.” Doc. 514 (Guthrie Testimony) at 23.

 Ronnie Carroll, who as already has been discussed spent fifty-seven consecutive days on suicide

 watch at Tamms, stated categorically his preference for segregation at Pontiac rather than the drastic

 isolation of confinement at Tamms:

        Down here, I’ve been to the North House a couple of times and back at the
        South House and I’ve not had no mental problems at all.
        Q. So given what you have just described, where would you rather be placed in the
        North Cell House here or at Tamms?
        A. Absolutely Tamms.
        Q. You would rather be at Tamms? Why?
        A. No, I mean absolutely here, not Tamms. I lost track of the question.


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        Q. Why would you rather be here?
        A. Well, the conditions back there, like I said, you could socialize with people.
        And privileges. The conditions are just a lot different here than they are at Tamms.
        Tamms you are just totally isolated.

 Id. (Carroll Testimony) at 44. Current Tamms inmate Isiah Bell, who as already has been noted

 testified that he believed his communicative skills were atrophying as a result of extended

 confinement at Tamms, also testified to the stark difference between conditions of confinement at

 Tamms and conditions in segregation at Pontiac. Describing the experience of arriving at

 segregation at Pontiac after a period of confinement at Tamms under conditions of intense sensory

 deprivation, Bell testified as follows:

        Q. All right. What was the difference there [Pontiac] and here?
        A. Um, well, you had more contact with people. Not physical contact but you had
        social contact with people. You had –
        Q. What do you mean by that?
        A. Well, the cells were bars. You know, you could reach out, you know, you could
        touch a person’s hand which was a significant difference. If you have never – if you
        have been – if you have been isolated for so long, just putting your hands on another
        human being was like . . . wow. You know the feeling if you ever been thirsty and
        you just drink a cold glass of water. It’s like that. It’s strange at first but it’s – well,
        it’s free.

 Doc. 433 (Bell Testimony) at 30-31. It is apparent to the Court that, as IDOC Director Randle

 testified, confinement at Tamms and segregation at a maximum security prison like Pontiac are “two

 different things.” Doc. 522 (Randle Testimony) at 18. The Court concludes that conditions at

 Tamms are significantly more restrictive than confinement in segregation at Pontiac. Accordingly,

 the Court finds that, assuming arguendo that conditions in segregation at Pontiac are a proper

 baseline for measuring whether conditions at Tamms give rise to a liberty interest in avoiding

 placement at the supermax prison, conditions at Tamms comprise atypical and significant hardship

 in comparison to conditions in segregation at Pontiac.


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                        c.      Conditions at Menard and Stateville

        As already has been noted, Plaintiffs propose conditions in the general population at Menard

 and Stateville as a proper baseline for measuring whether conditions of confinement at Tamms

 impose atypical and significant hardship in relation to the ordinary incidents of prison life so as to

 give rise to a due process liberty interest in avoiding confinement at Tamms. Defendants have

 stipulated that inmates at Tamms are subjected to restrictions which are atypical and significant in

 comparison to conditions in the general population at Illinois maximum security prisons such as

 Menard and Stateville. See Doc. 417 (Transcript of Day 1 of Bench Trial) at 17. Accordingly, the

 Court finds that conditions at Tamms impose atypical and significant hardship in comparison to

 conditions in the general population at Menard and Stateville.

                        d.      Conditions at Out-of-State Prisons

        As the Court noted in a previous order in this case, a number of named Plaintiffs in this

 matter (Von Perbandt, Ross, Hall, Brown, and Cunningham) were transferred to Tamms from

 prisons outside Illinois. See Westefer, 2009 WL 2905548, at *6 n.4. Additionally, in the course of

 the bench trial on the procedural due process claims in this case, the Court heard testimony from:

 Brian Nelson, who was transferred to Tamms from a prison in New Mexico; Isiah Bell, who was

 transferred to Tamms from a prison in New Jersey; Gene Arnett, who was transferred to Tamms

 from a prison in Virginia; and Richard McCue, who was transferred to Tamms from a prison in

 Arizona.    See Doc. 433 (Testimony of Brian Nelson) at 5; Id. (Bell Testimony) at 17;

 Id. (Arnett Testimony) at 72; Id. (McCue Testimony) at 98. Plaintiffs propose that conditions at

 the out-of-state prisons from which Nelson, Bell, Arnett, and McCue were transferred to Tamms are

 relevant in evaluating whether conditions of confinement at Tamms impose atypical and significant


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 hardship in relation to the ordinary incidents of prison life so as to give rise to a due process liberty

 interest in avoiding confinement at Tamms. The Court concurs and, in the interest of completeness,

 will compare conditions of confinement at Tamms with conditions of confinement at the prisons in

 New Mexico, New Jersey, Virginia, and Arizona from which, respectively, Nelson, Bell, Arnett, and

 McCue were transferred to Tamms.

         With respect to Brian Nelson, Nelson testified that he was transferred to Tamms from the

 general population of a minimum/medium security prison in Las Cruces, New Mexico, where he was

 permitted free-flow movement:

         Q. Directing your attention to the period immediately before you came to Tamms,
         can you tell us where you were housed?
         A. Las Cruces, New Mexico.
         Q. Can you tell us were you in general population or segregation?
         A. General population.
         Q. What sort of security is that in terms of security levels?
         A. Minimum/medium security.
         Q. And what sorts of privileges, movement, that kind of thing, did you have at that
         prison?
         A. From 7:00 a.m. until 10:00 at night I had free-flow movement from my cell. I go
         to yard up until 8:00 at night. I go to the library, gym, law library or the chapel every
         day from 7:00 a.m. until approximately 9:00 at night.
         Q. When you say “free flow”, that means you didn’t have to have guards escort you?
         A. Nobody.

 Doc. 433 (Nelson Testimony) at 5-6. This is in contrast, of course, to Tamms where inmates

 generally leave their cells only for shower or exercise, as already has been discussed, and, if an

 inmate leaves his cell for some other reason, he is shackled and escorted by two guards. See

 Welborn Deposition at 26-28; Tamms Photographs (Plaintiffs’ Exhibit 12). Nelson testified also that

 while in prison in New Mexico he worked as an institutional tailor, in which capacity he was able

 to walk in and out of the prison, have access to guard uniforms, and carry scissors. See id. at 12.



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 This again is in contrast to Tamms, where, as has been discussed, inmates are not permitted to hold

 any job assignments. In this connection it perhaps is worth noting that Nelson specifically

 complained about the absence of vocational and educational programming at Tamms, which

 programming presumably was available at other prisons where Nelson has been housed. See id.

 at 12, 13.

         Concerning Gene Arnett, Arnett testified that, although he was in segregation in the

 Greensville Correctional Center in Virginia before his transfer to Tamms, he was allowed to

 go to the yard for exercise three times a week for two hours, generally in the company of

 other inmates:

         Q. Segregation in Greensville, let’s talk about some of the things. How is yard run
         at Greenville?
         A. They put us – they got like 40 cages out there and they put us all on the yard in
         separate little cages.
         Q. And are the – when you say cages, are these bars, are these screens?
         A. Just chain link fence.
         Q. And how close are the cages or the fences to each other?
         A. They’re right next to each other, you can touch people through the cage.
         Q. They adjoin each other?
         A. Yes.
         Q. Is it easy to talk to people out there?
         A. Yeah, real easy.
         Q. And how often did you get to go to yard in Virginia?
         A. If I remember right, it was three times a week for two hours.
         Q. And you were sometimes alone and sometimes with other people or always with
         other people?
         A. For the first two months there, they used to put me out there by myself. And after
         two months they started putting me out there with everybody else.

 Doc. 433 (Arnett Testimony) at 73-74. Segregation inmates at the Virginia prison were allowed

 normal visits, and Arnett could use the telephone every two weeks. See id. at 74. Obviously

 conditions at the Virginia prison where Arnett was housed before his transfer to Tamms are quite



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 different from the conditions at Tamms, where as already has been discussed inmates are not

 permitted to exercise together, visits to inmates are tightly controlled, and inmates have no

 telephone privileges.

        Interestingly, both Isiah Bell and Richard McCue were confined in out-of-state supermax

 prisons before being transferred to Tamms, but they testified that the conditions of confinement at

 those out-of-state prisons were less restrictive than the conditions at Tamms. For example, inmates

 at the Arizona supermax prison where McCue was confined before he was transferred to Tamms

 were allowed to leave their cells once a week to clean their showers and the pod area for thirty

 minutes, and some prisoners at the Arizona supermax were permitted to hold job assignments. See

 Doc. 433 (McCue Testimony) at 99-100. Bell also testified to a number of important differences

 between Tamms and the New Jersey supermax prison where he was confined before being

 transferred to the Illinois supermax prison. According to Bell, there was more human contact among

 inmates at the New Jersey supermax prison than at Tamms. Stated Bell, “Although I was in

 supermax confinement we was allowed congregate status where you could go to the yard or have

 meetings with other prisoners, actually have contact with them. No more than about 15 at a time.

 Went to yard together.” Id. (Bell Testimony) at 17. Inmates at the New Jersey facility also were

 allowed to interact with each other outside their cells and to participate in congregate educational

 programs and religious services. See id. at 18, 19, 20. Additionally, the New Jersey supermax prison

 allowed inmates to make telephone calls daily and permitted contact visits. See id. at 18. Inmates at

 the New Jersey supermax prison could make unlimited purchases at the prison commissary and were

 allowed also to receive food parcels from their families. See id. at 18-19. In light of the testimony

 in this case, the Court concludes that conditions at Tamms are significantly more restrictive than


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 conditions at out-of-state prisons, including supermax prisons, from which inmates who testified in

 this case were transferred to Tamms, and that conditions of confinement at Tamms impose atypical

 and significant hardship in comparison to conditions at those out-of-state prisons.

                4.      Summary

        On the record before the Court it is clear that conditions at Tamms impose atypical and

 significant hardship in relation to the ordinary incidents of prison life under any plausible baseline.

 With respect to the three factors identified in Wilkinson as relevant to the existence of a due process

 liberty interest in avoiding confinement at a supermax prison, all three are present here: Tamms

 imposes drastic limitations on human contact, so much so as to inflict lasting psychological and

 emotional harm on inmates confined there for long periods; placement at Tamms is of indefinite

 duration, as Tamms inmates are not informed of how long they can expect to be confined in the

 supermax prison or what they can do to earn transfer out of the prison; and the effect of confinement

 at Tamms is to lengthen an inmate’s sentence as a result of the limitations on the ability to accrue

 good time credit that are entailed in placement at Tamms. The conditions of confinement at Tamms

 are as harsh as the conditions of confinement at the OSP and are significantly harsher than conditions

 of confinement at any other Illinois prison, including the segregation units at Pontiac. Additionally,

 the conditions of confinement at Tamms are harsher than the conditions of confinement at any of the

 out-of-state prisons from which Tamms inmates who testified in this case were transferred to

 confinement at Tamms, including out-of-state supermax prisons. The Court finds that Plaintiffs and

 the class have a due process liberty interest in avoiding confinement at Tamms. Accordingly, the

 Court will address next the issue of the process that constitutionally is due in order to protect the

 liberty interest of IDOC inmates in avoiding confinement at Tamms.


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         C.       The Process That Is Due

                  1.     Governing Standard

         Having determined that IDOC inmates have a due process liberty interest in avoiding

 placement at Tamms, the Court now must determine what process is constitutionally owed to such

 inmates in order to protect their liberty interest. In Wilkinson the Court observed that “[b]ecause the

 requirements of due process are ‘flexible and cal[l] for such procedural protections as the particular

 situation demands,’ we generally have declined to establish rigid rules and instead have

 embraced a framework to evaluate the sufficiency of particular procedures.” 545 U.S. at 224

 (quoting Morrissey v. Brewer, 408 U.S. 471, 481 (1972)). The Court instructed that, in evaluating

 due process in the context of assignments to custody at a supermax prison, three factors are to

 be considered:

         First, the private interest that will be affected by the official action; second, the risk
         of an erroneous deprivation of such interest through the procedures used, and the
         probable value, if any, of additional or substitute procedural safeguards; and finally,
         the Government’s interest, including the function involved and the fiscal and
         administrative burdens that the additional or substitute procedural requirement
         would entail.

 Id. at 224-25 (quoting Mathews v. Eldridge, 424 U.S. 319, 335 (1976)). Concerning the first factor,

 the private interest that will be affected by an official action, the Court acknowledged that the private

 interest of a prison inmate in being free from confinement in a supermax prison is “more than

 minimal,” but noted further that this interest “must be evaluated, nonetheless, within the context of

 the prison system and its attendant curtailment of liberties.” Id. at 225. “Prisoners held in lawful

 confinement have their liberty curtailed by definition, so the procedural protections to which they

 are entitled are more limited than in cases where the right at stake is the right to be



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 free from confinement at all.” Id. Said differently, the private liberty interest of a prison inmate that

 is implicated by confinement at a supermax prison is less than that of a person who is

 not incarcerated.

         As to the second Mathews factor, the risk of an erroneous deprivation of an inmate’s liberty

 interest in avoiding confinement at a supermax prison through existing correctional procedures,

 the Wilkinson Court examined closely Ohio’s policies governing placement of inmates of the state

 correctional system in the OSP. The Court looked particularly at the notice Ohio’s policies afford

 inmates of the fact that they are under consideration for placement at the OSP and the opportunity

 those policies give such inmates to challenge correctional officials’ stated reasons for OSP

 placement. The Court noted that Ohio’s policies afford inmates notice and a hearing, as well as an

 opportunity to rebut a recommendation in favor of placement at the OSP at the third and last of three

 levels of review of the placement recommendation. Under Ohio’s policies, the Court said, “an

 inmate must receive notice of the factual basis leading to consideration for OSP placement and a fair

 opportunity for rebuttal. Our procedural due process cases have consistently observed that these

 are among the most important procedural mechanisms for purposes of avoiding erroneous

 deprivations.” Wilkinson, 545 U.S. at 225-26. The Court observed,

         Requiring officials to provide a brief summary of the factual basis for the
         classification review and allowing the inmate a rebuttal opportunity
         safeguards against the inmate’s being mistaken for another or singled out for
         insufficient reason. In addition to having the opportunity to be heard at the
         Committee stage, Ohio also invites the inmate to submit objections prior to the final
         level of review. This second opportunity further reduces the possibility of an
         erroneous deprivation.

 Id. at 226. Additionally, the Court noted, under Ohio regulations a recommendation against OSP

 placement at any level of review ends the placement process, so that an inmate will not be placed


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 at the supermax prison:      “Although a subsequent reviewer may overturn an affirmative

 recommendation for OSP placement, the reverse is not true; if one reviewer declines to recommend

 OSP placement, the process terminates.” Id. Correspondingly, if a decisionmaker recommends

 placement in the OSP for an inmate, the inmate receives a statement of reasons for the placement

 recommendation that he can use to challenge the decision. “If the recommendation is OSP

 placement, Ohio requires that the decisionmaker provide a short statement of reasons. This

 requirement guards against arbitrary decisionmaking while also providing the inmate a basis for

 objection before the next decisionmaker or in a subsequent classification review.”                 Id.

 Such statements serve also, the Court pointed out, to guide inmates in their conduct in the future.

 See id. (citing Greenholtz v. Inmates of Neb. Penal & Corr. Complex, 442 U.S. 1, 16 (1979)).

 Finally, the Court noted, the Ohio regulations provide for review of a placement at the OSP after an

 inmate has been at the supermax prison for thirty days. See id. at 227. In the Court’s view, Ohio’s

 regulatory scheme adequately ensures against an erroneous decision in the process of placing inmates

 at the OSP.

        With respect to the third Mathews factor, the interest of the public officials charged with the

 responsibility of running prisons, the Court spoke bluntly. “In the context of prison management,

 and in the specific circumstances of this case, this interest is a dominant consideration.

 Ohio has responsibility for imprisoning nearly 44,000 inmates. The State’s first obligation

 must be to ensure the safety of guards and prison personnel, the public, and the prisoners

 themselves.” Wilkinson, 545 U.S. at 227 (citation omitted). The Court went on to say,

        Prison security, imperiled by the brutal reality of prison gangs, provides the backdrop
        of the State’s interest. Clandestine, organized, fueled by race-based hostility, and
        committed to fear and violence as a means of disciplining their own members and


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        their rivals, gangs seek nothing less than to control prison life and to extend their
        power outside prison walls. Murder of an inmate, a guard, or one of their family
        members on the outside is a common form of gang discipline and control, as well as
        a condition for membership in some gangs. Testifying against, or otherwise
        informing on, gang activities can invite one’s own death sentence. It is worth noting
        in this regard that for prison gang members serving life sentences, some without the
        possibility of parole, the deterrent effects of ordinary criminal punishment may be
        substantially diminished.

 Id. (citations omitted). The Court also noted Ohio’s strong interest in prudently managing the state’s

 limited resources. “The problem of scarce resources is another component of the State’s interest.

 The cost of keeping a single prisoner in one of Ohio’s ordinary maximum-security prisons is $34,167

 per year, and the cost to maintain each inmate at OSP is $49,007 per year.” Id. at 228. “We can

 assume that Ohio, or any other penal system, faced with costs like these will find it difficult to

 fund more effective education and vocational assistance programs to improve the lives of the

 prisoners.” Id. In view of these compelling state interests, the Court concluded, “courts must give

 substantial deference to prison management decisions before mandating additional expenditures for

 elaborate procedural safeguards when correctional officials conclude that a prisoner has engaged in

 disruptive behavior.” Id.

        After balancing the Mathews factors, the Wilkinson Court held that Ohio’s policies governing

 placement of inmates of the state correctional system at the OSP adequately safeguard the liberty

 interest of such inmates in avoiding the conditions of confinement in supermax custody.

 The Court pointed out that in determining whether an inmate should be placed in supermax

 confinement, correctional officials must assess an inmate’s whole prison record and make what

 amounts to a prediction of the inmate’s conduct in the future, an inquiry that implicates both the

 penological expertise of prison administrators and the overriding state interest in protecting



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 the safety of other inmates and correctional personnel.           In placing inmates at the OSP,

 the Court noted,

        Ohio is not, for example, attempting to remove an inmate from free society for a
        specific parole violation, or to revoke good-time credits for specific, serious
        misbehavior, where more formal, adversary-type procedures might be useful.
        Where the inquiry draws more on the experience of prison administrators, and where
        the State’s interest implicates the safety of other inmates and
        prison personnel, . . . informal, nonadversary procedures . . . provide the appropriate
        model.

 Wilkinson, 545 U.S. at 228-29 (citations omitted). In sum, because decisions about placing inmates

 in supermax confinement are ones that implicate the correctional expertise of prison administrators

 and the compelling state interest in the maintenance of prison security, such decisions necessarily

 are most susceptible of resolution through informal procedures.

        To determine what process, under Wilkinson and Mathews, is constitutionally due

 IDOC inmates placed in the supermax prison at Tamms, the Court must address three issues

 regarding existing IDOC procedures for placing inmates in Tamms: first, whether the administrative

 grievance procedures created by IDOC regulations provide a constitutionally adequate means of

 protecting the liberty interest of IDOC inmates in avoiding confinement at Tamms; second, whether

 for inmates assigned to Tamms in disciplinary segregation, who under current IDOC regulations are

 not entitled to a hearing to review their transfer to Tamms until such time as they have completed

 their sentence of segregation, the hearing that they receive on the disciplinary charge resulting in

 their segregation placement adequately protects the liberty interest of segregation inmates in avoiding

 confinement at Tamms; and third, whether for inmates assigned to Tamms in administrative

 detention status, the framework of periodic transfer review hearings furnished under current IDOC

 regulations adequately protects the liberty interest of those inmates in avoiding confinement at


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 Tamms. After these three matters are resolved, the Court will examine the constitutional adequacy

 under Wilkinson and Mathews of the procedures for placing inmates at Tamms outlined in

 IDOC Director Randle’s Ten-Point Plan.

                2.      Challenging Placement at Tamms through IDOC Grievance
                        Procedures

        The Court considers first the question of whether IDOC inmates have an adequate vehicle

 to challenge placement at Tamms through the grievance procedure afforded to inmates in IDOC

 custody by the IDOC regulations contained in Title 20 of the Illinois Administrative Code. See

 Ill. Admin. Code tit. 20, § 504.800 et seq. This matter can be disposed of quickly. In a previous

 order in this case, the Court ruled that decisions to assign inmates to Tamms are decisions of the

 Director of the IDOC that cannot be challenged through the grievance procedure. See Westefer v.

 Snyder, Civil Nos. 00-162-GPM, 00-708-GPM, 2010 WL 235003, at *4 (S.D. Ill. Jan. 15, 2010)

 (granting partial summary judgment for Plaintiffs on the issue of whether IDOC regulations furnish

 any administrative remedy by which to grieve a placement at Tamms). That decision of the Court

 is, of course, the law of the case, from which the Court sees no reason to depart at this time. See

 Westefer v. Snyder, Civil Nos. 00-162-GPM, 00-708-GPM, 2010 WL 331733, at *6

 (S.D. Ill. Jan. 25, 2010) (under the doctrine of the law of the case, decisions made by a court at an

 earlier stage of a case generally will control proceedings at later stages of the case); Potter v. Janus

 Inv. Fund, 483 F. Supp. 2d 692, 708-09 (S.D. Ill. 2007) (same). Thus, the Court concludes that

 IDOC grievance procedures do not furnish an avenue for IDOC inmates to challenge their

 assignment to Tamms and thus do not protect the liberty interest of such inmates in avoiding

 confinement in supermax custody.



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                 3.     Placement at Tamms in Disciplinary Segregation

          It is undisputed that under current IDOC regulations, inmates who are assigned to Tamms

 in disciplinary segregation do not have the right to a hearing to review their transfer to the supermax

 prison until after they have completed their term of segregation. Ruane Tanner, who is the Clinical

 Services Supervisor and chair of the Transfer Review Committee at Tamms, and who testified in this

 case as the IDOC’s representative pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure

 regarding the procedure for transfer of inmates to Tamms, testified that inmates assigned to Tamms

 in disciplinary segregation do not receive a hearing regarding their transfer to the prison until such

 time as they have completed their segregation sentence and are placed in administrative detention.

 See Deposition of Ruane Tanner at 4-5, 7, 28-29. What this means, then, is that an inmate serving

 a lengthy term of disciplinary segregation will not receive a hearing regarding his transfer to Tamms

 until such time as he has completed his term of segregation; thus, Rodney Guthrie and

 Ronnie Carroll both spent approximately six years in disciplinary segregation at Tamms without ever

 receiving a hearing regarding their transfer to the supermax prison.                  See Doc. 514

 (Guthrie Testimony) at 17; Id. (Carroll Testimony) at 36-37. Similarly, Gene Arnett who, as already

 has been noted, currently is a Tamms inmate, testified that he has spent eleven years in disciplinary

 segregation at Tamms without ever receiving a transfer hearing. See Doc. 433 (Arnett Testimony)

 at 74-75. Given that Arnett still has a lengthy sentence of disciplinary segregation to complete, it

 appears that he will not be eligible to receive a transfer review hearing for seventeen years. See id.

 at 75.    Also, disciplinary segregation inmates at Tamms do not receive an annual transfer

 review hearing to determine if their continued placement at Tamms is warranted.                    See

 Doc. 175 (Response to Request for Admissions) at 5 ¶ 7.


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        Defendants contend that the due process rights of inmates transferred to Tamms in

 disciplinary segregation     are adequately protected         by IDOC       regulations    governing

 Adjustment Committee hearings for IDOC inmates charged with infractions of prison discipline.

 Under the applicable regulations, “[t]he Adjustment Committee hearing shall be convened but need

 not be concluded within 14 days after the commission of the offense by an adult offender . . . or its

 discovery, whenever possible, unless the offender has received a continuance or is unable or

 unavailable for any reason to participate in the hearing.” Ill. Admin. Code tit. 20, § 504.80(a).

 An inmate must receive written notice of the disciplinary charge against him or her at least a day

 before an Adjustment Committee hearing on the charge. Specifically, the applicable regulations

 provide, “[t]he offender shall receive written notice of the facts and charges being presented against

 him or her no less than 24 hours prior to the Adjustment Committee hearing.” Id. § 504.80(b).

 Also, an inmate is required to be notified of any evidence in his or her favor: “The offender

 shall be informed before or at the hearing of information that would tend to show that the offender

 was not guilty. If information is provided to him or her at the hearing, the offender shall, upon

 request, be given a continuance.” Id. § 504.80(c). The inmate has the right to appear at the hearing,

 to make relevant statements, to produce relevant documents, and to request the presence

 of witnesses.

        Any offender charged with a violation of any rules shall have the right to appear
        before and address the Committee. Any refusal to appear shall be documented and
        provided to the Committee. However, failure to appear before or address the
        Committee may be adversely construed against the individual by the
        Adjustment Committee.
        1) The offender may make any relevant statement or produce any relevant documents
        in his or her defense.
        2) Prior to the hearing, the offender may request that witnesses be interviewed. The
        request shall be in writing on the space provided in the disciplinary report and shall


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        include an explanation of what the witnesses would state. If the offender fails to
        make the request in a timely manner before the hearing, the individual may be
        granted a continuance for good cause shown.

 Id. § 504.80(f). If the Adjustment Committee is satisfied that the inmate committed the offense with

 which he or she is charged, the Adjustment Committee may recommend discipline, including

 placing the inmate in segregation status. See id. § 504.80(k)(4)(H). The Adjustment Committee may

 also recommend that the inmate be transferred to another correctional facility.             See id.

 § 504.80(k)(4)(E). The regulations impose no limitation concerning the other prisons to which an

 inmate may be transferred as punishment for a disciplinary infraction. See id. The recommendation

 of the Adjustment Committee is subject to review by the Chief Administrative Officer

 (that is, the Warden) of the prison where the inmate is housed or, in appropriate cases, by the

 Director of the IDOC. See id. § 504.80(p).

        The Court finds unpersuasive Defendants’ argument that the Adjustment Committee hearing

 provided for under IDOC regulations as outlined above is adequate to protect the due process liberty

 interest in avoiding confinement at Tamms of inmates assigned to the supermax prison in

 disciplinary segregation. No inmate who testified in this case stated that he was advised at an

 Adjustment Committee hearing that he was being considered for placement at Tamms. In fact the

 testimony in this case was quite uniform that inmates transferred to Tamms in disciplinary

 segregation were not informed at their Adjustment Committee hearings that part of their punishment

 for a disciplinary infraction might be assignment to Tamms. See, e.g., Doc. 433 (Bell Testimony)

 at 26; Id. (Rosario Testimony) at 52; Doc. 482 (Testimony of Eugene Horton) at 16-17;

 Id. (Testimony of Vincente Rodriguez) at 19; Doc. 507 (Combs Testimony) at 7; Doc. 514

 (Guthrie Testimony) at 17. Moreover, several prisoners testified to lengthy temporal gaps between


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 the time they were placed at Tamms in disciplinary segregation and the offenses that caused them

 to be so placed. For example, Brian Nelson testified that he was placed in disciplinary segregation

 at Tamms over an incident that occurred perhaps as much as two years earlier than his arrival at the

 supermax prison.      See Doc. 433 (Nelson Testimony) at 7.              Similarly, Tamms inmate

 Johnny Almodovar testified that he was transferred to the supermax prison in disciplinary

 segregation on the basis of disciplinary charges that had been leveled at him during a previous term

 of incarceration that was separate from the term Almodovar currently is serving.              See id.

 (Almodovar Testimony) at 67-68. In sum, nothing in the record supports the inference that the

 Adjustment Committee hearing granted to IDOC inmates charged with disciplinary infractions

 adequately protects the liberty interest of such inmates in avoiding confinement at Tamms, and the

 Court concludes that it does not.

                4.      Placement at Tamms in Administrative Detention

        The Court considers next the matter of whether, for inmates assigned to Tamms in

 administrative detention status, the framework of periodic transfer review hearings to evaluate the

 propriety of placement at Tamms in administrative detention that is provided under current IDOC

 regulations adequately protects the liberty interest of administrative detention inmates in avoiding

 placement at Tamms.       Under existing IDOC regulations, inmates transferred to Tamms in

 administrative detention status are entitled to a transfer review hearing within ten working days of

 their transfer, when possible; additionally, inmates assigned to Tamms in administrative detention

 receive an annual transfer review hearing. See Ill. Admin. Code tit. 20, § 505.60(a); Id. § 505.70(b);

 Deposition of Odie Washington at 90. Also, the files of inmates transferred to Tamms in

 administrative detention are reviewed quarterly to determine whether placement at the prison is still


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 appropriate. See Ill. Admin. Code tit. 20, § 505.70(a). The evidence of record compels the

 conclusion that under existing IDOC regulations, inmates placed at Tamms in administrative

 detention do not receive adequate constitutional process.

        The principal constitutional flaw in the existing transfer review hearing procedure provided

 to IDOC inmates assigned to Tamms in administrative detention status is the IDOC’s failure to give

 such inmates advance notice of their transfer review hearing and the reason the inmates have been

 transferred to Tamms.     Defendants admit that IDOC inmates do not receive notice of the

 reason why they have been transferred to Tamms. See Doc. 175 (Response to Request for

 Admissions) at 5-6 ¶ 12. Similarly, IDOC’s Rule 30(b)(6) designee Ruane Tanner conceded that

 before 2005 IDOC inmates did not receive written notice in advance of their transfer review hearing.

 See Tanner Deposition at 29-30. Moreover, IDOC regulations do not provide that an inmate must

 be given notice in advance of the transfer review hearing as to the reason he is being sent to Tamms.

 See Washington Deposition at 91. Although inmates may make a statement and present documents

 at their transfer review hearing, Defendant Washington, a former IDOC Director, conceded

 that he does not know how an inmate could raise a meaningful challenge to his placement at Tamms

 or present relevant information at a transfer review hearing without knowing the reason for his

 placement at Tamms:

        Q.    I’m asking you how they [inmates] are supposed to know what
        statements would be relevant [at a transfer review hearing] if they are not told why
        they were sent there [Tamms]?
        A. I can’t answer that.
        Q. Do you have any idea how that’s supposed to happen?
        A. No.

 Id. at 92-93. Washington acknowledged also that, under existing IDOC regulations, an inmate



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 transferred to Tamms is required to be given only the Transfer Review Committee’s final decision,

 not the factual basis for the decision.

        Q. . . . The only thing that’s in these regulations is that the committed person shall
        be informed in writing of the final decision, correct?
        A. That’s what it states here.
        Q. That’s the only thing that the prisoner is given is the final decision, correct?
        A. I don’t have a recollection of that’s the only thing that they are given in writing.
        Q. Well, is there anything else in this regulation that requires them to be given
        anything other than the final decision in writing?
        A. Not that I can see, no.
        Q. Is there anything even that requires that they be told the basis of that decision in
        this regulation?
        A. Not that I can see.
        Q. In fact, there is nowhere in this regulation that they are even required to write
        down for anyone the facts that are relied on and why they made the recommendation
        they made?

                                                 ****

        A. Not to my knowledge, no. None that I can see.

 Id. at 94-95. Relatedly, Ruane Tanner testified that before 2005 inmates were not advised of

 the purpose of their transfer review hearing or of their right to call witnesses at the hearing. See

 Tanner Deposition at 30.

        Numerous inmates transferred to Tamms in administrative detention status testified that they

 received no notice in advance of either their initial transfer review hearing or the reason for their

 placement at Tamms. For example, Plaintiff Bivens testified as follows regarding his initial transfer

 review hearing following his assignment to Tamms in administrative detention status:

        Q. . . . Once you got to Tamms you were granted some sort of hearing or meeting
        about why you were there?
        A. Yeah.
        Q. Now did you – tell us what sort of notice you got before that hearing?
        A. Notice that I’m gonna receive a hearing?
        Q. Yes.


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        A. None.
        Q. Tell us what happened?
        A. They just came and got me and said you going to talk to a counselor or somebody
        of that nature.
        Q. Okay. And did they – at any time before they came to your cell did they give you
        anything in writing saying why you had been sent to Tamms?
        A. No, they didn’t.
        Q. Once you got in the counselor’s room or wherever it was that you had this
        meeting did they give you any written notice saying why you were there?
        A. No, they did not.
        Q. Prior to going to this meeting did they give you any notice that you were entitled
        to call witnesses at this hearing?
        A. No, they did not.
        Q. Did they give you any notice that you are entitled to bring documents to defend
        yourself?
        A. No, they did not.

 Doc. 417 (Bivens Testimony) at 17-18.

        At the transfer review hearing Bivens was afforded no opportunity to contest the reasons

 cited by correctional personnel for his placement at Tamms:

        Q. Once you got in the hearing what did they say?
        A. Well, they told me that – they read off of some paper that they had in front of
        them. And I take it it had to be the one with the escape charge on it because that was
        first thing they said, they read off. And then they said I was there for poor
        disciplinary history or adjustment.
        Q. Did they say the escape was the reason you were there?
        A. Yes.
        Q. Did they say anything about gang membership at that point?
        A. No.
        Q. All right. Now did they at that point tell you, well, you have the right to bring in
        documents to refute some of this?
        A. No.
        Q. Did they at that point tell you that you had the right to bring in witnesses to refute
        any of this?
        A. No.
        Q. Did they tell you you had a right to defend yourself at all?
        A. No. It was a one-sided – uh, I thought I was there for them to tell me this is how
        the joint is going to be ran. That was it.

 Doc. 417 (Bivens Testimony) at 19. In the wake of his transfer review hearing Bivens was given a


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 one-line statement of the decision of the Transfer Review Committee regarding his placement

 at Tamms:

        Q.   Did you ultimately get some sort of decision from this hearing?
        A.   Yeah, I got a piece of paper.
        Q.   What did that piece of paper say?
        A.   It said that I was reviewed and denied.
        Q.   Did it say anything about the evidence they relied on?
        A.   No.
        Q.   Did it give any details as to the basis for the decision that you were there?
        A.   It was basically a single sentence, like form-letter type.

 Doc. 417 (Bivens Testimony) at 20.

        The experience of Plaintiff Knox following his transfer to Tamms in administrative detention

 status was similar to that of Bivens. Knox testified as follows regarding the initial transfer review

 hearing that he received after his assignment to the supermax prison:

        Q. Once you arrived at Tamms did you get some kind of a hearing or meeting with
        somebody to discuss why you were there?
        A. Initially when I got there, no, I didn’t get a hearing or anything when I initially got
        there. They just put me in the cell.
        Q. Okay. Did you at some point later when you were at Tamms?
        A. Yes, some days later mentally –
        Q. And tell us what happened at that hearing, did they give you some advanced
        notice of what was happening?
        A. They called me over the intercom and told me to get dressed I was going to some
        type of transfer review hearing.
        Q. Did they give you any kind of a written document about this document?
        A. They didn’t give me anything. Like I say, they called me over the intercom to get
        dressed. I was going to a transfer review hearing. At the time, I didn’t know what
        a transfer review hearing was.
        Q. Did you ask somebody?
        A. I asked the lieutenant that came to my door after the tower officer called me, they
        came to my door and I asked them what was the transfer review hearing all about.
        And they said my placement down here in Tamms. They told me to come on and
        they took me to the little multipurpose building.
        Q. Once you got into that multipurpose room, what happened?
        A. They cuffed me up to the little block basically like I’m sitting now. And that he
        was on that side and they got to reading off some paperwork they had in front


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        of them.
        Q. Now –
        A. Some stuff was highlighted.
        Q. Did they give you a copy of this paperwork?
        A. No.
        Q. Did they give you any paper at all?
        A. No.
        Q. Did anybody tell you you have the right to call witnesses?
        A. They didn’t tell me anything.
        Q. Did they give you any indication that you could bring documents with you from
        your cell in order to explain why you didn’t belong at Tamms?
        A. No.
        Q. You started to say what they read off this document, what kinds of things were
        they reading to you?
        A. Basically pretty much what we been going over for the last couple of days. Come
        to find out from the placement sheet. And basically it was just saying gang activity,
        threats to staff. And they read off incident that was in the placement sheet about an
        incident report that Sergeant Mayo had written me back in '96.
        Q. So basically they were reading you the same documents that you have now seen
        in this trial?
        A. Yeah, pretty much right.
        Q. Until we gave them to you as part of the discovery in this case, you had never
        seen that document?
        A. No, I didn’t know what it really was.

 Doc. 417 (Knox Testimony) at 27-29.

        Knox testified that, like Bivens, at his transfer review hearing he was given essentially no

 opportunity to contest the grounds for his placement at Tamms:

        Q. Okay. Were you given an opportunity to respond to these things?
        A. At that time when they was asking me what do I think about this? What you got
        to say about this ticket, or what you got to say about that ticket. I really couldn’t say
        too much about those because a lot of that stuff I’d forgot all about until they said
        you start bringing certain incidents back up. And I really didn’t have enough to go
        on the for the basis – you know, my grievances.
        Q. Did they show you these disciplinary reports that they were talking about?
        A. No, I – no, they didn’t.
        Q. And did they say you could go get these documents and continue the hearing
        later?
        A. No.
        Q. All right. After – and was that – that was the extent of the hearing?


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        A. Yeah, pretty much.
        Q. Now at the end of it did they tell you what was going to happen next?
        A. They basically just told me they let me know they decision, and that was it.
        Q. Did you, in fact, receive a decision?
        A. Yes. I did.
        Q. What was that decision what did it look like?
        A. Pretty much like a regular memorandum basically saying my name and stuff
        on there. Cell number. And basically just saying I pretty much at the
        appropriate place.
        Q. Did it give you any kind of details about that you were there for gang membership
        or that you were there for the disciplinary violations or you were there for your
        underlying offense or anything like that?
        A. No, didn’t tell anything like that.
        Q. Any evidence at all, any indication of any evidence at all they were relying on?
        A. No.
        Q. And then subsequently you had hearings similarly on an annual basis?
        A. Correct.

 Doc. 417 (Knox Testimony) at 29-31. As with Bivens, Knox’s lack of advance notice of the transfer

 review hearing and the reason for his placement at Tamms hampered him in challenging his

 assignment to the supermax prison.

        Finally, Plaintiff Burrell testified as follows about his initial transfer review hearing after his

 assignment to Tamms in administrative detention status:

        Q. Once you arrived at Tamms were you eventually given some sort of hearing or
        meeting as to why you were there?
        A. Maybe a week later two C/Os came to the door and told me to get dressed and we
        went to the multipurpose room where I was told that my – I was told that I was in the
        Vice Lords and that I had an assault. And that was it.
        Q. Now before you came to this room were you given anything in writing?
        A. Nothing.
        Q. Did they tell you you could bring some documents in order to defend yourself?
        A. No.
        Q. Did they tell you that you could call witnesses to defend yourself?
        A. No.
        Q. Once you got inside this hearing room did they then give you anything in writing
        saying why you had been sent to Tamms?
        A. I received nothing at all.
        Q. Did they then tell you inside the witness room – inside this conference room that


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        you could call witnesses?
        A. They told me nothing.
        Q. Did they suggest you could get any documents to defend yourself against these
        charges?
        A. No, not at all.
        Q. Did you at least have an opportunity to explain yourself?
        A. No.
        Q. Did they let you say anything at all?
        A. No.

 Doc. 417 (Burrell Testimony) at 42-43. The Court has chosen to highlight the testimony of Bivens,

 Knox, and Burrell because their experiences seem to be representative of the experiences of inmates

 transferred to Tamms in administrative detention; in fact, Defendants stipulated that the transfer

 review hearings about which Bivens, Knox, and Burrell testified were typical of such hearings for

 inmates assigned to Tamms in administrative detention except “to the extent that some of them said

 they didn’t get a chance to speak.” Id. (Day 1 Trial Transcript) at 44. Also, the Court has no reason

 not to credit the testimony of Bivens, Knox, and Burrell that they were not permitted to defend

 themselves at their transfer review hearings and this testimony is corroborated, as already has been

 discussed, by the testimony of the IDOC’s Rule 30(b)(6) designee Ruane Tanner that before 2005

 inmates were not informed at transfer review hearings of their right to make statements, procure the

 testimony of witnesses, and present evidence.

        What emerges from the record is that existing transfer review procedures are not adequate

 to protect the liberty interest of IDOC inmates in avoiding placement at Tamms. Inmates are not

 given advance notice of their transfer review hearing or the reason for their placement at Tamms.

 They are not advised of their right to make statements, present documents, and procure the testimony

 of witnesses at their transfer review hearing. They are not furnished with copies of the documents

 relied upon by prison administrators in placing them at Tamms or a statement of reasons for their


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 placement at Tamms following a transfer review hearing. The lack of notice means that inmates are

 effectively put in the position of having to defend themselves against charges the nature of which

 they do not know.

        For example, Plaintiff Sorrentino testified that at his first transfer review hearing at Tamms

 not only did the committee conducting the hearing ask him why he thought he had been sent to

 Tamms but the committee never actually told him the reason that he had been assigned to the

 supermax prison:

        Q. Once you arrived at Tamms, tell us about this, as the Judge puts it,
        postdeprivation hearing that you received?
        A. About 14 days after I arrived at Tamms they brought me out for a hearing.
        Q. And did they give you any type of advanced notice of this hearing?
        A. No.
        Q. Did they tell you why you were there before the hearing?
        A. No. Oddly enough, they asked me why I thought I was there.
        Q. In the hearing that’s what they asked you?
        A. Yeah. They had five documents in front of them, and they were flipping them
        back and forth both looking at each other. And I said, is there a problem? And she
        said, why do you think you are here? And I said, I don’t know, why am I here?
        And that kind of went back and forth and that was the end of it.
        Q. Did they ever tell you why you were there?
        A. That first committee, no.

 Doc. 417 (Sorrentino Testimony) at 47-48. Similarly, Plaintiff Sparling testified that, at his initial

 transfer review hearing following his transfer from Menard to Tamms in administrative detention,

 he was asked by one correctional officer on Sparling’s transfer review committee who Sparling had

 “piss[ed] off” at Menard so as to be assigned to Tamms. Doc. 513 (Sparling Testimony) at 11.

 The officer’s question suggests that even the members of the transfer review committee at

 Sparling’s initial transfer review hearing did not know the reason why Sparling was

 assigned to Tamms.



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        Finally, after their transfer review hearing inmates receive only a summary notice stating that

 they have been appropriately placed at Tamms; they are not told what evidence was relied upon in

 making the decision, nor is the reason they were sent to Tamms explained. For example, the only

 explanation Plaintiff Sparling was given as to why he remained in confinement at Tamms for over

 six years was that he was “[p]roperly placed.” Doc. 513 (Sparling Testimony) at 11. See also

 Doc. 482 (V. Rodriguez Testimony) at 21 (the witness, who has been confined at Tamms for more

 than ten years, testified that the only explanation he was given for his assignment to Tamms was that

 he was “properly placed”). The Court concludes that the existing transfer review procedure for

 inmates placed at Tamms in administrative detention status fails adequately to protect the due

 process rights of such inmates.

                5.      IDOC Director Randle’s Ten-Point Plan

        Having concluded that existing IDOC procedures for assigning inmates to Tamms are

 constitutionally inadequate, the Court turns next to consideration of certain provisions of

 IDOC Director Randle’s Ten-Point Plan and the adequacy of the Ten-Point Plan to

 protect the due process liberty interest of IDOC inmates in avoiding confinement at the supermax

 prison. The Ten-Point Plan, which, as discussed, has been approved by the Governor of Illinois but

 which has not yet been implemented in IDOC regulations, makes certain important changes to the

 way inmates are assigned to Tamms in light of the decision of the United States Supreme Court

 in Wilkinson. By way of introduction, the Plan notes the current IDOC procedure concerning transfer

 review hearings for Tamms inmates:

        Inmates and advocacy groups have voiced concern regarding the process for
        informing inmates at Tamms [Closed Maximum Security Unit (“CMAX”)],
        including informing them of the reason for placement. Currently under 20 Illinois


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        Administrative Code, Chapter 1, Subchapter e – Operations Part 505, Closed
        Maximum Security Facility, a Transfer Review Hearing is to be conducted within ten
        working days of the inmate’s placement at Tamms CMAX in administrative
        detention status or at the expiration of his disciplinary segregation term.
        Administrative Directive 05.02.110, Placement at Closed Maximum Security
        Facility, provides that the Chief Administrative Officer is to appoint members of the
        Transfer Review Committee.

 Ten-Point Plan (Plaintiffs’ Exhibit 7) at 14. The Plan then notes the need for changes in IDOC

 policies for assigning inmates to Tamms:

        The Department would make a series of changes in the official policy describing the
        Transfer Review Hearing process and within the established timelines for placing an
        inmate at Tamms CMAX. The proposed changes to the pertinent Department Rules
        and Administrative Directives are underlined within the text below. Further, the
        proposed procedures for conducting a Transfer Review Hearing follow the official
        policy changes. Note that the official filing of a grievance and the associated review
        policies will allow inmates to appeal the transfer to “supermax” to the Department
        Chief Legal Counsel, and not the Administrative Review Board.

 Id.

        The Ten-Point Plan significantly revises existing IDOC procedures for assigning inmates to

 Tamms. Among the most important changes to IDOC policies proposed by the Ten-Point Plan is

 that inmates assigned to Tamms in disciplinary segregation will receive a transfer review hearing

 within thirty days of their arrival at the supermax prison, instead of having to wait until they have

 completed their segregation sentence, which, as already has been discussed, is the procedure in place

 now under existing IDOC regulations:

        The ability to address this proposed recommendation requires amendments to official
        policies as addressed below within the underlined text:
        20 Illinois Administrative Code, Chapter 1, Subchapter C–Operations Part 505,
        Closed Maximum Security Facility:
        Section 505.50, Transfer Review Committee
        a) The Transfer Review Committee shall be composed of two persons selected by
        the Chief Administrative Officer of the Tamms Correctional Center.
        b) The Committee shall:


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        1) Conduct transfer review hearings in accordance with Section 505.60; and
        2) Conduct routine reviews of persons in administrative detention at the Tamms
        Correctional Center in accordance with Section 505.70.
        Section 505.60, Transfer Review Hearing
        a) Whenever possible, a transfer review hearing shall be conducted
        1) Within ten working days of a committed person’s placement in Administrative
        Detention in the Tamms Correctional Center or the expiration of the committed
        person’s term of disciplinary segregation.
        2) Within 30 calendar days of a committed person’s placement in Disciplinary
        Segregation at Tamms Correctional Center.
        3) Within 30 calendar days of the completion of the disciplinary hearing for a
        committed person transferred to Tamms Correctional Center in Investigative Status.
        b) The committed person shall be afforded the opportunity to appear at the
        hearing, to make statements relevant to his or her placement in the
        Tamms Correctional Center, and to present relevant documents. The committed
        person may also request that the Committee interview persons with relevant
        information.
        c) In determining whether to continue placement in administrative detention in the
        Tamms Correctional Center, the Committee may consider, among other matters, the
        factors set forth in Section 505.40(d).
        d) The Committee shall make recommendations to the Chief Administrative Officer
        of the Tamms Correctional Center. The Chief Administrative Officer shall approve
        or disapprove the Committee’s recommendations and shall submit his or her
        recommendation to the Chief of Operations for a final decision. The committed
        person shall be informed in writing of the final decision.

 Ten-Point Plan (Plaintiffs’ Exhibit 7) at 14-15.

        Concerning annual transfer review hearings for inmates placed at Tamms in administrative

 detention status, the Ten-Point Plan provides as follows:

        Administrative Directive 05.02.110, Placement at Closed Maximum Security Facility
        AD 05.02.110, II, Section M, Transfer Review Hearing
        1. The Chief Administrative Officer shall appoint members of the Transfer Review
        Committee.
        2. The Transfer Review Committee shall conduct transfer review hearings for each
        offender transferred to Tamms Correctional Center.

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        3. The annual Transfer Review Committee hearing shall be conducted in accordance
        with 20 Ill. Adm. Code 505.70.


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         4. Upon completion of the hearing, the Transfer Review Committee shall complete
         a summary report that includes:
         a. A record of the proceedings of the hearing; and
         b. The offender’s voluntary disclosure to willingly renounce STG membership
         association.
         5. The summary of the hearing shall be forwarded to the Chief Administrative
         Officer for further review and assessment.

 Id. at 15.

         The Ten-Point Plan summarizes its proposed changes to the process for placing inmates at

 Tamms in the following way:

         Proposed Transfer Review Committee Process
         1) Inmates transferred to Tamms CMAX in Administrative Detention shall appear
         before the Transfer Review Committee (TRC) whenever possible within ten days of
         placement to participate in a Transfer Review Hearing.
         2) Inmates transferred to Tamms CMAX in Investigative or Segregation status shall
         appear before the TRC whenever possible within thirty days of placement or at the
         conclusion of pending disciplinary proceedings, whichever is later.
         3) The TRC shall advise the inmate of the stated reason for his placement.
         4) The inmate shall be given the opportunity to refute the information and/or offer
         evidence on his behalf that may impact the final decision on placement.
         5) The TRC shall prepare a written report of the hearing.
         6) The report shall contain inmate demographics, reason for placement, summary of
         disciplinary history, status (Administrative Detention, Investigative or
         Segregation status) record of the proceedings, and committee recommendation on
         placement.
         7) The report shall be forwarded to the Chief Administrative Officer for review,
         approval, or denial.
         8) The Chief Administrative Officer’s recommendation shall be forwarded to the
         Chief of Operations for review and approval or denial.
         9) After receipt of the decision of the Chief of Operations, the TRC shall provide the
         inmate with written notification of the decision on his placement.
         10) The decision of the Chief of Operations may be appealed by the affected inmate
         to the Chief Legal Counsel of the Department, who shall act as the designee of the
         Director for purposes of such an appeal.
         11) An audio digital recording shall be made of all Transfer Review
         Hearings and shall be retained by the Department pursuant to standard record
         retention policy.

 Ten-Point Plan (Plaintiffs’ Exhibit 7) at 15-16.


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        The procedure for placing inmates at Tamms outlined in the Ten-Point Plan is functionally

 very similar to the procedure for placing inmates at the OSP that was reviewed by the United States

 Supreme Court for its adequacy under the Due Process Clause in Wilkinson. This is hardly

 surprising, of course, given that, as already has been noted, IDOC Director Randle, before assuming

 his current position, worked for the Ohio Department of Rehabilitation and Correction and was

 responsible for developing the procedures used to place inmates at the OSP that were found to be

 constitutionally adequate in Wilkinson. The Court turns first to the procedure for placing inmates

 in supermax confinement that was examined in Wilkinson. In that decision the United States

 Supreme Court outlined the procedure used by Ohio correctional personnel to place inmates at the

 OSP (called the “New Policy” in the opinion) in the following manner:

        The New Policy appears to operate as follows: A classification review for OSP
        placement can occur either (1) upon entry into the prison system if the inmate
        was convicted of certain offenses, e.g., organized crime, or (2) during the
        term of incarceration if an inmate engages in specified conduct, e.g., leads a prison
        gang. The review process begins when a prison official prepares a “Security
        Designation Long Form” (Long Form). This three-page form details matters such as
        the inmate’s recent violence, escape attempts, gang affiliation, underlying offense,
        and other pertinent details.

        A three-member Classification Committee (Committee) convenes to review the
        proposed classification and to hold a hearing. At least 48 hours before the hearing,
        the inmate is provided with written notice summarizing the conduct or offense
        triggering the review. At the time of notice, the inmate also has access to the
        Long Form, which details why the review was initiated. The inmate may attend
        the hearing, may offer any pertinent information, explanation and/or
        objections to [OSP] placement, and may submit a written statement. He may not call
        witnesses.

        If the Committee does not recommend OSP placement, the process terminates.
        If the Committee does recommend OSP placement, it documents the decision on a
        “Classification Committee Report” (CCR), setting forth the nature of the threat the
        inmate presents and the committee’s reasons for the recommendation, as well as a
        summary of any information presented at the hearing. The Committee sends the


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        completed CCR to the warden of the prison where the inmate is housed or,
        in the case of an inmate just entering the prison system, to another
        designated official.

        If, after reviewing the CCR, the warden (or the designated official) disagrees and
        concludes that OSP is inappropriate, the process terminates and the inmate is not
        placed in OSP. If the warden agrees, he indicates his approval on the CCR, provides
        his reasons, and forwards the annotated CCR to the Bureau of Classification (Bureau)
        for a final decision. (The Bureau is a body of Ohio prison officials vested with final
        decisionmaking authority over all Ohio inmate assignments.) The annotated CCR
        is served upon the inmate, notifying him of the Committee’s and warden’s
        recommendations and reasons. The inmate has 15 days to file any objections with
        the Bureau.

        After the 15-day period, the Bureau reviews the CCR and makes a final
        determination. If it concludes OSP placement is inappropriate, the process
        terminates. If the Bureau approves the warden’s recommendation, the inmate is
        transferred to OSP. The Bureau’s chief notes the reasons for the decision on the
        CCR, and the CCR is again provided to the inmate.

        Inmates assigned to OSP receive another review within 30 days of their arrival. That
        review is conducted by a designated OSP staff member, who examines the inmate’s
        file. If the OSP staff member deems the inmate inappropriately placed, he prepares
        a written recommendation to the OSP warden that the inmate be transferred to a
        lower security institution. If the OSP warden concurs, he forwards that transfer
        recommendation to the Bureau for appropriate action. If the inmate is deemed
        properly placed, he remains in OSP and his placement is reviewed on at least an
        annual basis according to the initial three-tier classification review process
        outlined above.

 Wilkinson, 545 U.S. at 216-17 (internal citations and punctuation omitted).

        The Court turns next to the procedure for assigning inmates to Tamms outlined in Point One

 of IDOC Director Randle’s Ten-Point Plan. Like the New Policy, the Plan provides for a hearing

 at which an inmate placed at Tamms can challenge the factual basis for his placement. The fact that

 the Plan contemplates that transfer review hearings will be conducted at Tamms seems to the Court

 to be of no moment; as IDOC Director Randle explained, having a single Transfer Review

 Committee at Tamms conduct all hearings concerning placement at the supermax prison will


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 promote consistency in decisions about supermax placement. See Doc. 522 (Randle Testimony)

 at 12-13, 36. In any event, as Defendants point out, it is well settled that a timely hearing following

 deprivation of a liberty interest satisfies the requirements of due process. See Hewitt v. Helms, 459

 U.S. 460, 476-77 (1983) (holding that due process was satisfied where an inmate received a hearing

 on his placement in administrative segregation five days after the inmate commenced his segregation

 placement). At the transfer review hearing contemplated under the Plan, an inmate can appear, make

 statements, present relevant documents, and request that persons with relevant information be

 interviewed. The Plan also contemplates that, as with the New Policy, any recommendation for

 supermax placement must be in writing and must contain a statement of reasons for the

 recommendation, and the recommendation is subject to review at three different levels: the

 Chief Administrative Officer of Tamms; the Chief of Operations of the IDOC; and the Chief Legal

 Counsel of the IDOC.          The fact that the Transfer Review Committee must make a

 recommendation of supermax placement in writing and include in its written report inmate

 demographics, the stated reason for an inmate’s supermax placement, a summary of the disciplinary

 history of an inmate being recommended for placement at Tamms, the inmate’s status, and a record

 of the proceedings is, as in Wilkinson, a “safeguard[ ]” against an erroneous deprivation of

 an inmate’s liberty interest in avoiding confinement at Tamms.                   545 U.S. at 226.

 Also, as with the New Policy, under the Ten-Point Plan a negative determination as to supermax

 placement at any of the three levels of review terminates the process, with the result that

 an inmate under consideration for placement at Tamms is not so placed, but the reverse is

 not true: a decisionmaker at the next level of review cannot overrule a negative determination about

 placement at Tamms. See id.


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        Under Point One of IDOC Director Randle’s Ten-Point Plan, an inmate placed at Tamms will

 receive sufficient information at his transfer review hearing, subject to the legitimate restrictions

 dictated by considerations of prison security, to understand why he has been placed in supermax

 confinement. This information will furnish a guide for an inmate in his future conduct, enabling the

 inmate to conform his conduct to prison regulations, and will assist the inmate to mount an effective

 appeal from a recommendation of Tamms placement by the IDOC Chief of Operations. See

 Wilkinson, 545 U.S. at 226. As IDOC Director Randle pointed out in his testimony, the fact that all

 transfer review hearings will be audiotaped will help inmates approved for Tamms placement by the

 IDOC Chief of Operations to appeal from such placement decisions. IDOC Director Randle

 explained, “I thought that was important in the event there is an appeal or a concern about the actual

 placement process we would actually have a recording of that so that the person that heard the appeal

 could actually hear the actual testimony or proceedings that took place as part of the transfer review

 hearing.” Doc. 522 (Randle Testimony) at 10. Similarly, while for reasons of prison security

 inmates may not necessarily be privy to the reports prepared by the Transfer Review Committee

 regarding placement at Tamms, they nonetheless will possess sufficient information about why they

 have been recommended for placement at the supermax prison to challenge such placement to the

 IDOC Chief Legal Counsel:

        Q. How much information will each inmate be given about the reasons why they’re
        at Tamms?
        A. They will – essentially, the idea is to provide the reason or the offense that lead
        to the transfer review request. In a lot of cases that is the actual offense that they
        were heard at during their initial disciplinary hearing to tell the person this is why
        because of what this – that you were found guilty of, you are being placed in Tamms.
        And then to give the offender an opportunity to provide any information that they
        think will influence the decision whether or not to place them there.
        Q. Is it possible some information will be withheld from the person with the hearing?


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        A. Under certain circumstance. For example, if the information relied on to place
        a person there is based on confidential witness statements we will withhold the
        names of those people. And if there is information that would reveal the identity of
        the person we will withhold some of that information. But still the expectation is to
        provide enough information so that the offender clearly understands why they are
        being considered for placement in Tamms.
        Q. Will they be told the result of the hearing?
        A. Yes.
        Q. How much detail will they be given to the reasons they’re still in Tamms?
        A. In terms of the decision they will be told this is what the committee is
        recommending for you to be placed in Tamms and here’s why you have been found
        guilty of whatever offense that is, and that offense is serious, and it represents a threat
        to safety, security; or, you have committed such a serious offense that we simply
        cannot have you in the general population setting and provide the reason why.
        Whatever that offense may be and that the decision has been made to recommend
        that you be placed here for a period of time.
        Q. And that’s the point they would be allowed to appeal to the chief legal officer?
        A. Yes.

 Doc. 522 (Randle Testimony) at 11-12. Also, all inmates assigned to Tamms in administrative

 detention will continue to receive quarterly review of their files concerning the propriety of

 continued placement at Tamms, as well as annual transfer review hearings concerning the propriety

 of continued placement at Tamms.5

        Plainly, Point One of IDOC Director Randle’s Ten-Point Plan affords IDOC inmates

 significantly more process with respect to placement at Tamms than hitherto has been the case.

 Unfortunately, the Court finds that the process afforded under Point One of the Plan is insufficient



 5. Finally, although strictly speaking Point Two of IDOC Director Randle’s Plan is not concerned
 with the issue of whether or not an inmate should be placed at Tamms, it is worth noting that
 Point Two protects inmates from spending an unnecessary amount of time in the supermax prison.
 Under the Plan, as already has been noted, upon arrival at Tamms new inmates of the supermax
 prison will be advised at orientation of the probable length of their stay at the prison, expressed as
 a range of possible terms of supermax confinement; further, inmates will work with counselors to
 ensure that they achieve the behavioral levels necessary to be transferred out of Tamms in the
 least possible time. See Ten-Point Plan (Plaintiffs’ Exhibit 7) at 16; Doc. 522 (Randle Testimony)
 at 13-14.

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 in two respects: first, the Plan makes no provision for inmates placed at Tamms to be informed in

 writing of the reason for their placement at the supermax prison in advance of their transfer review

 hearing; and second, the Plan is prospective only and does not provide for inmates already

 transferred to Tamms in disciplinary segregation who currently are confined in the supermax prison

 serving segregation sentences to receive a transfer review hearing. As the Court already has

 acknowledged, due process, especially in the context of prison administration, is to be construed

 flexibly, and this is particularly true where, as here, determinations about supermax

 placement implicate the correctional expertise of prison administrators and compelling state interests

 in prison security and the prudent allocation of limited state resources. See Wilkinson, 545 U.S.

 at 224, 227-28. That said, it is completely beyond the Court’s ken how inmates seeking to contest

 placement at Tamms at their transfer review hearing can be expected to mount an effective challenge

 to their supermax placement without timely, written notice in advance of their transfer review

 hearing of the reason they have been placed at Tamms.

        As the Wilkinson Court observed, “For more than a century the central meaning of procedural

 due process has been clear: Parties whose rights are to be affected are entitled to be heard; and in

 order that they may enjoy that right they must first be notified[.]”              545 U.S. at 226

 (quoting Fuentes v. Shevin, 407 U.S. 67, 80 (1972)) (internal citation omitted). Equally importantly,

 in Wilkinson the Court found that it did not unduly burden state interests in prison security and

 allocation of resources to provide inmates under consideration for placement at the OSP

 with written notice summarizing the conduct or offense that triggered such consideration at least

 forty-eight hours before a hearing on placement at the OSP. Id. at 216, 225-26. In this connection,

 the Court notes that under the Ten-Point Plan, as part of the orientation process for inmates assigned


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 to Tamms in administrative detention status, administrative detention inmates are advised within a

 few days of their arrival at the prison of the reason for their placement at Tamms and informed about

 the transfer review hearing process, and a transfer review hearing for such inmates is scheduled at

 that time. See Ten-Point Plan (Plaintiffs’ Exhibit 7) at 16. The Court sees no reason why the IDOC

 should not provide to all inmates placed at Tamms notice of the reason for their placement in

 advance of their transfer review hearing, and in fact the Court believes that such notice is

 constitutionally compelled.

        With respect to transfer review hearings for current segregation inmates of Tamms, as noted

 Point One of IDOC Director Randle’s Ten-Point Plan authorizes such hearings only for IDOC

 inmates placed at Tamms after the Plan is implemented. However, this ignores the fact that there

 are inmates of Tamms who were transferred there in segregation who have never received a transfer

 review hearing and who will not be eligible for such a hearing until they have completed their

 (sometimes lengthy) segregation sentences. The Court already has noted the case of Gene Arnett,

 who was transferred to Tamms in disciplinary segregation and who has spent the past eleven

 years in segregation at Tamms without receiving a transfer review hearing; even under Point One

 of the Ten-Point Plan, Arnett will not receive a transfer review hearing until he has completed the

 remaining seventeen years of his segregation sentence. See Doc. 433 (Arnett Testimony) at 74-75.

 It appears that, concomitant to the Plan, the IDOC is reviewing the files of long-term inmates of

 Tamms to evaluate the propriety of continued supermax confinement for those inmates.

 According to IDOC Director Randle, the files of 133 inmates placed at Tamms between 1998

 and 2004 have been reviewed, and forty-eight of the inmates have been approved for transfer out of

 Tamms. See Ten-Point Plan (Plaintiffs’ Exhibit 7) at 26; Doc. 522 (Randle Testimony) at 20.


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 Inasmuch as it appears that the IDOC has been able to conduct reviews of the jackets of more than

 half of the inmate population of Tamms in the space of approximately three months (the time,

 according to IDOC Director Randle, that it took to prepare the Ten-Point Plan for submission to

 Governor Quinn, see Doc. 522 (Randle Testimony) at 8), the Court does not believe it would be

 unduly onerous for IDOC personnel to conduct transfer review hearings as to current segregation

 inmates of Tamms like Gene Arnett who otherwise are not afforded such a hearing even under

 the Ten-Point Plan.

        As a final matter, the Court will address a couple of items of injunctive relief requested by

 Plaintiffs and the class, namely, that: IDOC inmates cannot be transferred to Tamms for prison gang

 activity that occurred before 1996; and IDOC inmates may not be transferred to Tamms in

 disciplinary segregation more than a year after the conduct giving rise to the segregation placement

 occurred. The Court finds no merit in either of these requests for injunctive relief. As to

 whether IDOC inmates involved in gang activity before 1996 should be transferred to Tamms, it

 appears that before 1996 the IDOC tolerated prison gangs, as a matter of necessity; after 1996, with

 Tamms soon to be opened, IDOC policies toward prison gangs became harsher. As the Wilkinson

 Court noted, in evaluating due process in the context of prison administration, prison security is a

 paramount state concern. The fact that the IDOC may have tolerated gang activity does not mean

 that the agency encouraged it, and doubtless the IDOC tolerated gangs only because, before Tamms

 opened, tolerance of gangs was the best available means of preventing gang violence and ensuring

 prison security. As to whether IDOC inmates may be transferred to Tamms more than a year after

 a disciplinary infraction resulting in a segregation placement, the Court sees no reason to impose

 such a limitation on prison administrators, given that under the Ten-Point Plan and this Order all


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 inmates transferred to Tamms in disciplinary segregation will receive a transfer review hearing

 shortly after their arrival at Tamms.

         It is worth noting here the special restrictions on the remedial power of a court that apply in

 the correctional context, particularly where, as here, a federal court is being asked to exercise such

 power with respect to the operations of state prisons. As Sandin teaches, federal courts are

 constrained to avoid taking measures that lead to “involvement . . . in the day-to-day management

 of prisons, often squandering judicial resources with little offsetting benefit to anyone,” and to

 “afford appropriate deference and flexibility to state officials trying to manage a volatile

 environment.” 515 U.S. at 482. “Such flexibility is especially warranted in the fine-tuning of the

 ordinary incidents of prison life, a common subject of prisoner claims[.]” Id. at 483. See also

 Rizzo v. Goode, 423 U.S. 362, 379 (1976) (noting that where a plaintiff requests an award of

 remedial relief that would require a federal court to interfere with the administration of a state prison,

 “appropriate consideration must be given to principles of federalism in determining the availability

 and scope of [such] relief. ”). Similarly, the Prison Litigation Reform Act of 1995 (“PLRA”), 42

 U.S.C. § 1997e et seq., imposes limitations of its own on the remedial relief that can be awarded by

 the Court in the correctional context:

         Prospective relief in any civil action with respect to prison conditions shall extend
         no further than necessary to correct the violation of the Federal right of a particular
         plaintiff or plaintiffs. The court shall not grant or approve any prospective relief
         unless the court finds that such relief is narrowly drawn, extends no further than
         necessary to correct the violation of the Federal right, and is the least intrusive means
         necessary to correct the violation of the Federal right. The court shall give
         substantial weight to any adverse impact on public safety or the operation of a
         criminal justice system caused by the relief.

 18 U.S.C. § 3626(a)(1)(A). The Court fails to see how an order prohibiting prison administrators



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 from transferring to Tamms either IDOC inmates involved in gang activity before 1996 or IDOC

 inmates who committed a disciplinary infraction over a year before their transfer conforms to the

 requirement of narrowly-tailored relief under both Sandin and the PLRA.

        The Court sums up as follows. The Court concludes that, in general, Point One of

 IDOC Director Randle’s Ten-Point Plan adequately protects the liberty interest of IDOC inmates in

 avoiding confinement at Tamms, but concludes also that Point One of the Plan must be modified in

 two respects: first, inmates placed at Tamms must receive advance notice in writing of the reason

 for their placement at least forty-eight hours before a transfer review hearing regarding their

 placement at Tamms; second, all inmates assigned to Tamms in disciplinary segregation must

 receive a transfer review hearing, including inmates assigned to disciplinary segregation before the

 date of entry of this Order. Specifically, inmates who are currently housed at Tamms, and who were

 transferred to Tamms in disciplinary segregation prior to entry of the Court’s order, shall be granted

 a transfer review hearing that complies with the procedure set out in Section 505.60 of Title 20 of

 the Illinois Administrative Code within 180 days of the date of entry of this Order. Priority for the

 said hearings shall be given to those IDOC inmates transferred to Tamms in disciplinary segregation

 the longest. Transfer review hearings for all IDOC inmates transferred to Tamms in disciplinary

 segregation who have been at Tamms for more than five years shall be completed within ninety

 days of the date of entry of this Order. The Court believes that Point One of IDOC Director Randle’s

 Ten-Point Plan, as modified in this Order, constitutes narrowly-drawn equitable relief in this case

 consistent with the requirements of the PLRA.              Accordingly, the Court will enter an

 appropriate injunction consistent with the findings of fact and conclusions of law set forth in

 this Order.


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                 6.      Declaratory Relief

         The Court next addresses the issue of whether Plaintiffs and the class have shown an

 entitlement to declaratory relief. Specifically, Plaintiffs and the class request that the Court enter an

 order requiring that the fact that a particular IDOC inmate had at one time been assigned to Tamms

 be expunged from the inmate’s record. Plaintiffs and the class reason that, because the IDOC has

 hitherto employed procedures that afford IDOC inmates inadequate due process in assigning such

 inmates to Tamms, prior assignments to Tamms should not be reflected in the prison records of

 inmates. The Court does not agree and concludes that Plaintiffs and the class have failed to show

 an entitlement to the requested declaratory relief. Counsel for Plaintiffs and the class have adduced

 some anecdotal evidence that inmates who have been assigned to Tamms are treated differently and

 worse after being transferred out of the supermax prison than are inmates who have never been

 placed at Tamms. For example, Plaintiff Knox testified that, after being transferred out of Tamms,

 he was assigned incorrectly to a high-aggression cellhouse at Menard, although in fact his aggression

 level is low. See Doc. 417 (Knox Testimony) at 37. Similarly, Plaintiff Clayton testified that,

 following his transfer out of Tamms, he has been discriminated against by IDOC personnel at the

 Big Muddy Correctional Center:

         Q. Once you got to Big Muddy were you treated differently than other prisoners
         because you had been at Tamms?
         A. Yes.
         Q. How were you treated differently?
         A. In the month and a half I was only permitted two showers. I had to beg for a
         change of clothing. And constantly threatened, harassed. And I was written a
         falsified – they tried to force me to take a tape test.

 Doc. 513 (Clayton Testimony) at 7. Finally, Isiah Bell testified that, while he was attempting to

 complete the Administrative Detention Re-entry Management Program (“ADRMP”) or “Step Down”


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 program at Pontiac in order to be transferred out of Tamms, he was baited by correctional

 personnel who sought to goad Bell to commit disciplinary infractions so that he would be transferred

 back to Tamms:

        But it [the ADRMP] was basically all a trap really in my opinion because they had
        officers there that was specifically that was specifically try to pull you off. What I
        mean by that – I know that was slang. But what I mean by that, you had officers that
        try to gorge [sic] you into anger, try to pull you into basically try to make you mad
        and do things to you to get you to give you a reason to be wrote up so you can be sent
        back, things like that.

 Doc. 433 (Bell Testimony) at 23.

        The weight of the evidence in this case does not suggest that the IDOC makes it a practice

 to punish former Tamms inmates for having been assigned to the supermax prison at one time.

 In the course of the bench trial on the due process claims in this case, the Court specifically inquired

 into the matter of whether IDOC has any policy of discriminating against inmates based on their

 prior placement at Tamms. The following colloquy occurred in the course of IDOC Director

 Randle’s testimony:

        THE COURT: Throughout these proceedings I have been told that the mere fact that
        a prisoner has been to Tamms, even though they have successfully completed their
        term at Tamms, has a – a legal stigma such that this prisoner just from having been
        at Tamms is then forever barred from participating in other activities or opportunities
        that are available to the other people in the system. Do you know anything about
        that?
        A. Your Honor, no, I do not.
        Q. I mean, it would occur to this Court, and probably anyone else, that in as much
        as we’re trying to get, you are trying to get prisoners worked up so they can at
        least function with other prisoners that this would be a terribly counterproductive
        situation. But you can’t help me with that.
        A. No – your Honor, certainly that’s something that based on you mentioning
        it to me I will make it a point to make sure the organization understands that’s not
        goal. And, in fact, it’s just the opposite. We want to promote successful inmates that
        have left Tamms and been able to function well. Those are people we want to show
        as examples, not only to offenders that are at Tamms but to our staff and everybody


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        else. So it’s just the opposite.
        THE COURT: Well, just to be candid with you, things like that happen
        throughout the system. And the federal courts are not in a whole lot better
        situation . . . . So anomalies happen and I just wondered. Thank you.

 Doc. 522 (Randle Testimony) at 47-48.

        Similarly, Yolande Johnson, the Chief Administrative Officer of Tamms, testified that there

 is no IDOC policy of discriminating against former Tamms inmates in the IDOC system by reason

 of the prior assignment of such inmates to Tamms:

        THE COURT: I just wonder if you could shed some light on the circumstance that
        I have just described to the director. That is, I’ve been told that if you have been to
        Tamms that forever bars you from activities or certain activities and
        opportunities in the prison system. Can you help me with that? Do you know
        anything about it?
        A. There are no provisions to deny offenders any activities in general population
        once they’ve transferred out of Tamms. The only exception to that is if an offender
        is transferred from Tamms in segregation to another facility in segregation his
        privileges are restricted. In seg you don’t have access to education programs.
        Q. By virtue of being in segregation?
        A. Right. But if an offender is transferred from administrative detention to the
        ADRMP to the general population he has access to school, he is eligible for security
        reclassifications. In fact, there have been offenders who are transferred out to a
        maximum security prison and have gone through reclassification and been processed
        to Big Muddy or Pinckneyville or wherever. So that means they’ve reduced their
        security level so they’ve not been denied transfers. They also do have access to
        substance abuse programming if the facility that they’re at offers substance abuse
        programming. They have access to education. They may or may not have access to
        E.D. or work release by the nature of their committing offense, not by the nature of
        the offense that they committed to go to Tamms. So . . .
        Q. Thank you. That’s what I needed to know.

 Id. (Testimony of Yolande Johnson) at 48-49. As the foregoing testimony by IDOC Director Randle

 and Chief Administrative Officer Johnson makes clear, contrary to the views of counsel for Plaintiffs

 and the class, the IDOC has no policy of discriminating against former inmates of Tamms based on

 their prior assignment to the supermax prison.



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        The Court finds the testimony of IDOC Director Randle and Chief Administrative Officer

 Johnson credible, particularly in light of the fact that, as the foregoing testimony by IDOC Director

 Randle points out, the institutional interest of the IDOC is in helping IDOC inmates either to avoid

 Tamms or to complete successfully their term of confinement at Tamms. The IDOC has no interest

 in discriminating against former Tamms inmates or in setting up a situation in which such inmates

 re-offend and wind up back in Tamms, given that the IDOC must spend considerably more to house

 inmates at Tamms than at other prisons in the IDOC system:

        Q. I take it also that it’s relatively more expensive to keep a prisoners at Tamms than
        it is, say, Pontiac?
        A. Yes, it is.
        Q. Quite a bit so?
        A. Yes.
        Q. Do you know what that figure is?
        A. Around 53 to $57,000 I believe.
        Q. At Tamms?
        A. Yes.
        Q. 30,000 in a regular?
        A. About 23 on the average.
        Q. That’s a pretty good incentive to pay attention to it?
        A. Yes.
        Q. I’m sure your budget, like everyone else’s, is under pressure?
        A. A lot of pressure, your Honor.

 Doc. 522 (Randle Testimony) at 44-45. The IDOC has no reason to penalize inmates who have been

 transferred out of Tamms and in fact, given the substantially higher cost of housing inmates in the

 supermax prison at Tamms than at lower-security prisons in the IDOC system, the agency’s incentive

 is quite the contrary. As IDOC Director Randle testified, the IDOC’s interest lies in rewarding, not

 penalizing, inmates who successfully complete a term of confinement at Tamms. The evidence of

 record simply does not support the view that the IDOC has a policy of discriminating against former

 Tamms inmates. As a further matter, the Court cannot understand how an order requiring IDOC


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 officials to scrub from the jackets of all former inmates of Tamms any record of the confinement of

 those inmates at the supermax prison (thereby falsifying the correctional history of those inmates)

 conforms to the requirement of narrowly-tailored relief under both Sandin and the PLRA.

 In any event, the weight of the evidence in this case, namely, the testimony of IDOC Director Randle

 and Chief Administrative Officer Johnson, shows that there is no IDOC policy of discriminating

 against former Tamms inmates and in fact IDOC policy is very much to the contrary, e.g., to

 encourage IDOC inmates, including former Tamms inmates, to obey prison rules by giving them

 incentives to stay out of Tamms. The declaratory relief requested by Plaintiffs and the class

 will be denied.

                   7.   Summary

        The Court concludes that existing IDOC procedures for placing inmates at Tamms are

 inadequate to protect the liberty interest of IDOC inmates in avoiding confinement at the supermax

 prison. For inmates assigned to Tamms in disciplinary segregation, an Adjustment Committee

 hearing on the disciplinary charge underlying the segregation sentence of such inmates is not an

 adequate procedural safeguard inasmuch as inmates are not warned at their Adjustment Committee

 hearing that a portion of the punishment for their disciplinary infraction is likely to be confinement

 at Tamms. In fact, as has already been discussed, in some instances months and even years passed

 between the time when an inmate committed a disciplinary infraction and the time when the inmate

 was placed in disciplinary segregation at Tamms. For inmates assigned to Tamms in administrative

 detention, the transfer review hearing prescribed for such inmates is inadequate to protect their

 liberty interest in avoiding confinement at Tamms because inmates receive no notice in advance of

 the hearing of the reason for their placement at Tamms and thus are unable effectively to challenge


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 their placement at Tamms at their transfer review hearing.          In fact, it appears that some

 IDOC inmates did not learn the reason for their placement of Tamms even after they had received

 a transfer review hearing. Also, after a transfer review hearing, at which many inmates were

 never apprised of their right to contest their placement at Tamms, the only explanation

 furnished for an assignment to the supermax prison was a one-line statement that the inmate had

 been properly placed at the supermax prison.

        The procedure for assigning inmates to Tamms set out in Point One of IDOC Director

 Randle’s Ten-Point Plan is a vast improvement in the amount of process that IDOC inmates receive

 when under consideration for placement at Tamms, but the procedure set out in Point One of the

 Plan suffers from two constitutional infirmities: first, the Plan makes no provision for inmates

 placed at Tamms to be informed in writing of the reason for their placement at the supermax prison

 in advance of their transfer review hearing; and second, the Plan is prospective only and does not

 provide for inmates transferred to Tamms in disciplinary segregation before the date of

 implementation of the Plan to receive a transfer review hearing. The Court concludes that the

 process for placing inmates at Tamms outlined in Point One of IDOC Director Randle’s Plan is

 constitutionally adequate in most respects, and the Court adopts Point One of the Plan as its grant

 of equitable relief in this case, subject to the following modifications: inmates placed at Tamms

 must receive advance notice in writing of the reason for their placement at least forty-eight hours

 before a transfer review hearing regarding their placement at Tamms; and all inmates assigned to

 Tamms in disciplinary segregation must receive a transfer review hearing, including inmates

 assigned to disciplinary segregation at Tamms before the date of entry of this Order. Finally, the

 weight of evidence in this case shows that the IDOC does not have a policy of discriminating against


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 former Tamms inmates by reason of their assignment to Tamms, and therefore the declaratory relief

 requested by Plaintiffs and the class will be denied.

                                          III. CONCLUSION

        The Court has considered carefully all of the evidence and arguments of the parties, as well

 as the relevant law. Having done so, the Court concludes that Plaintiffs and the class have shown

 an entitlement to injunctive relief. Accordingly, it is hereby ORDERED as follows:

                1.      The Chief Administrative Officer of the Tamms Closed Maximum Security

 Facility (“Tamms CMAX”) shall appoint members of the Transfer Review Committee.

                2.      The Transfer Review Committee shall conduct Transfer Review Hearings for

 each inmate transferred to Tamms CMAX.

                3.      Inmates transferred to Tamms CMAX in Administrative Detention status shall

 appear before the Transfer Review Committee whenever possible within ten days of placement to

 participate in a Transfer Review Hearing.

                4.      Inmates transferred to Tamms CMAX in Disciplinary Segregation status or

 Investigative status shall appear before the Transfer Review Committee whenever possible

 within thirty days of placement or at the conclusion of pending disciplinary proceedings,

 whichever is later.

                5.      All inmates transferred to the Tamms CMAX in any status

 (Administrative Detention status, Disciplinary Segregation status, or Investigative status) shall be

 notified by the Transfer Review Committee in writing of the reason they are being considered

 for placement at Tamms CMAX at least forty-eight hours in advance of their

 Transfer Review Hearing.


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                6.      Consistent with the procedure set out in Section 505.60 of Title 20 of the

 Illinois Administrative Code, an inmate placed at Tamms CMAX shall be afforded the opportunity

 to appear at the Transfer Review Hearing to refute the stated reason for placement at Tamms CMAX,

 to make statements relevant to the inmate’s placement at Tamms CMAX, and to present relevant

 documents. The inmate may also request that the Transfer Review Committee interview persons

 with relevant information.

                7.      Inmates who are currently housed at Tamms CMAX, and who were

 transferred to Tamms CMAX in Disciplinary Segregation status prior to the date of entry of the

 Court’s Order shall be granted a Transfer Review Hearing that complies with the procedure set out

 in Section 505.60 of Title 20 of the Illinois Administrative Code within 180 days of the date of entry

 of this Order. Priority for the said Transfer Review Hearings shall be given to those IDOC inmates

 transferred to Tamms in Disciplinary Segregation status the longest. Transfer Review Hearings for

 all IDOC inmates transferred to Tamms in Disciplinary Segregation status who have been at Tamms

 CMAX for more than five years shall be completed within ninety days of the date of entry of

 this Order.

                8.      In determining whether to recommend continued placement in

 Administrative Detention status at Tamms CMAX, the Transfer Review Committee may consider,

 among other matters, the factors set forth in Section 505.40(d) of Title 20 of the

 Illinois Administrative Code (the safety and security of the facility, the public, or any person,

 an inmate’s disciplinary and behavioral history, reports and recommendations concerning

 the inmate, the feasibility of a transfer to another facility, medical concerns, and

 mental health concerns).


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                9.      An audio digital recording shall be made of all Transfer Review Hearings and

 shall be retained by the Illinois Department of Corrections pursuant to that agency’s standard record

 retention policy.

                10.     The Transfer Review Committee shall prepare a written report of each

 Transfer Review Hearing.

                11.     The    report   of   the   Transfer   Review     Committee      shall   contain

 inmate demographics, the stated reason for placement of an inmate at Tamms CMAX, a summary

 of the inmate’s disciplinary history, the inmate’s status (Administrative Detention status,

 Disciplinary Segregation status, or Investigative status), a record of the proceedings, the inmate’s

 voluntary disclosure to willingly renounce Security Threat Group membership association, and

 the recommendation of the Transfer Review Committee on placement of the inmate at

 Tamms CMAX.

                12.     The report of the Transfer Review Committee regarding placement

 shall be forwarded to the Chief Administrative Officer of Tamms CMAX for review, approval,

 or denial.

                13.     The    recommendation      of   the   Chief    Administrative     Officer    of

 Tamms CMAX regarding placement shall be forwarded to the Chief of Operations of the

 Illinois Department of Corrections for review and approval or denial.

                14.     After receipt of the decision of the Chief of Operations of

 the Illinois Department of Corrections, the Transfer Review Committee shall provide

 each inmate placed at Tamms CMAX with written notification of the decision on the inmate’s

 placement.


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                15.     The decision of the Chief of Operations of the Illinois Department of

 Corrections may be appealed by the affected inmate to the Chief Legal Counsel of the

 Illinois Department of Corrections, who shall act as the designee of the Director of the

 Illinois Department of Corrections for purposes of such an appeal.

                16.     With respect to inmates placed at Tamms CMAX in Administrative Detention

 status, the Transfer Review Committee shall conduct routine reviews and annual

 Transfer Review Hearings in the manner set out in Section 505.70 of Title 20 of the

 Illinois Administrative Code.

        The Court fully appreciates the difficulty for prison administrators entailed in handling the

 dangerous and largely incorrigible prisoner population at Tamms. The supermax prison at Tamms

 is clean, excellently administered, and well-staffed. Consistent with 18 U.S.C. § 3626(a)(1)(A),

 the Court FINDS that the foregoing grant of equitable relief is narrowly drawn, extends no further

 than necessary to correct the violation of the Fourteenth Amendment due process rights of

 IDOC inmates placed at Tamms, and is the least intrusive means necessary to correct the violation

 of the federal rights of such inmates. The Court will retain jurisdiction over this matter for the

 purpose of enforcement. This injunction shall terminate in two years upon the motion of either party

 unless the Court finds that prospective relief is needed to correct an ongoing violation of a federal

 right. See 18 U.S.C. § 3626(b)(1)(A)(i). The Court concludes that Plaintiffs and the class have

 failed to show a right to declaratory relief, and their request for such relief is DENIED.

 The Clerk of Court will enter judgment in accordance with this Order.




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       IT IS SO ORDERED.

       DATED: July 20, 2010

                                          /s/ G. Patrick Murphy
                                          G. PATRICK MURPHY
                                          United States District Judge




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